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                                         James I. Stang               September 18, 2009         jstang@pszjlaw.com
                                                                                                       310.772.2354



                                         Via Email
L O S A N G E L E S, C A
S A N F R A N C I S C O, C A             phuygens@rhodeshomes.com
W I L M I N G T O N, D E
N E W Y O R K, N Y                       Rhodes Homes
                                         4730 S. Forth Apache Road, Suite 300
10100 SANTA MONICA BLVD.
11th FLOOR
                                         Las Vegas, NV 89147
LOS ANGELES
CALIFORNIA 90067-4100                    zlarson@lslawnv.com
TELEPHONE: 310/277 6910                  Zachariah Larson, Esq.
FACSIMILE: 310/201 0760                  Larson & Stephens
                                         810 S. Casino Center Blvd., Suite 104
                                         Las Vegas, Nevada 89101

                                         august.b.landis@usdoj.gov
                                         August B. Landis
                                         Office of the United States Trustee
                                         300 Las Vegas Boulevard, So., Suite 4300
                                         Las Vegas, Nevada 89101
SAN FRANCISCO
150 CALIFORNIA STREET
                                         pdublin@akingump.com
15th FLOOR                               Philip Dublin
SAN FRANCISCO                            Akin Gump Strauss Hauer & Feld LLP
CALIFORNIA 94111-4500
                                         One Bryant Park
TELEPHONE: 415/263 7000                  New York, NY 10036
FACSIMILE: 415/263 7010


                                         ramon.naguiat@skadden.com
DELAWARE
                                         Ramon M. Nagiuat
919 NORTH MARKET STREET
17th FLOOR
                                         Skadden, Arps, Slate, Meagher & Flom LLP
P.O. BOX 8705                            300 S. Grand Ave., #3400
WILMINGTON                               Los Angeles, CA 90071
DELAWARE 19899-8705

TELEPHONE: 302/652 4100
                                         don.deamicis@ropesgray.com
FACSIMILE: 302/652 4400
                                         Benjamin.Schneider@ropesgray.com
                                         Don DeAmicis
NEW YORK
780 THIRD AVENUE
                                         Ben Schneider
36th FLOOR                               Ropes & Gray, LLP
NEW YORK                                 1211 Avenue of the Americas
NEW YORK 10017-2024                      New York, NY 10036-8704
TELEPHONE: 212/561 7700

FACSIMILE: 212/561 7777




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                    Page 2

                    tbeckett@parsonbehle.com
                    J. Thomas Beckett
                    Parsons Behle & Latimer
                    One Utah Center
                    201 South Main Street, Suite 1800
                    Salt Lake City, UT 84111

                            Re:      The Rhodes Companies, LLC, et al.1
                                     Bankruptcy Case No. S-09-14814-LBR
                                     (Jointly administered)
                                     Pachulski Stang Ziehl & Jones LLP
                                     Monthly Fee Statement – August 2009

                    Dear All:

                            Pachulski Stang Ziehl & Jones LLP (“PSZJ”) submits the
                    annexed statement of fees and expenses for the month of August
                    2009 (the “Compensation Period”) as counsel for the Debtors and
                    Debtors in Possession in accordance with the “Order Granting
                    Debtors’ Motion for Administrative Order Pursuant to Sections
                    105(A) and 331 of the Bankruptcy Code and Bankruptcy Rule 2016
                    Establishing Procedures for Interim Monthly Compensation and

                    1
                     The Debtors in these cases, along with their case numbers are: Heritage Land
                    Company, LLC (Case No. 09-14778); The Rhodes Companies, LLC (Case No.
                    09-14814); Tribes Holdings, LLC (Case No. 09-14817); Apache
                    Framing, LLC (Case No. 09-14818); Geronimo Plumbing LLC (Case No. 09-
                    14820); Gung-Ho Concrete LLC (Case No. 09-14822); Bravo, Inc. (Case No. 09-
                    14825); Elkhorn Partners, A Nevada Limited Partnership (Case No. 09-14828);
                    Six Feathers Holdings, LLC (Case No. 09-14833); Elkhorn Investments, Inc.
                    (Case No. 09-14837); Jarupa, LLC (Case No. 09-14839); Rhodes Realty, Inc.
                    (Case No. 09-14841); C & J Holdings, Inc. (Case No. 09-14843); Rhodes Ranch
                    General Partnership (Case No. 09-14844); Rhodes Design and Development
                    Corporation (Case No. 09-14846); Parcel 20, LLC (Case No. 09-14848); Tuscany
                    Acquisitions IV, LLC (Case No. 09-14849); Tuscany Acquisitions III, LLC (Case
                    No. 09-14850); Tuscany Acquisitions II, LLC (Case No. 09-14852); Tuscany
                    Acquisitions, LLC (Case No. 09-14853); Rhodes Ranch Golf Country Club, LLC
                    (Case No. 09-14854); Overflow, LP (Case No. 09-14856); Wallboard, LP (Case
                    No. 09-14858); Jackknife, LP (Case No. 09-14860); Batcave, LP (Case No. 09-
                    14861); Chalkline, LP (Case No. 09-14862); Glynda, LP (Case No. 09-14865);
                    Tick, LP (Case No. 09-14866; Rhodes Arizona Properties, LLC (Case No. 09-
                    14868); Rhodes Homes Arizona, L.L.C. (Case No. 09-14882); Tuscany Golf
                    Country Club, LLC (Case No. 09-14884); and Pinnacle Grading, LLC (Case No.
                    09-14887.


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                    September 18, 2009
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                    Reimbursement of Expenses of Professionals” entered on May 18,
                    2009 (“Interim Compensation Order”).

                    The time entries for PSZJ on this statement cover the period August
                    1, 2009 through August 30, 2009, consisting of fees in the amount of
                    $227,179.50 and expenses in the amount of $8,755.37 (see attached
                    for detailed itemization). The amounts reflect a voluntary reduction
                    in fees and costs of $3,946.93 for August 2009. Pursuant to the
                    Interim Compensation Order, PSZJ requests payment from the
                    Debtors in the total amount of $201,857.94, representing 85% of the
                    total monthly fees in the amount of $193,102.57 ($227,179.50 x
                    85%) plus the total monthly expenses in the amount of $8,755.37.2

                            The charges and expenses incurred by PSZJ in this matter
                    are billed in accordance with its existing billing procedures and the
                    rates PSZJ charges for the services of its attorneys are the same or
                    lower rates than are charged for professional services rendered in
                    comparable non-bankruptcy related matters. Reimbursement is
                    sought for actual and necessary expenses in accordance with the
                    uniform policies of the firm.

                           If you have any questions or comments regarding the
                    foregoing, please do not hesitate to contact me.

                                                      Very truly yours,

                                                      /s/ James I. Stang

                                                      James I. Stang



                    Enclosures




                    2
                     The Interim Compensation Order requires that 15% of fees be held back (the
                    “Holdback”) and for approval of the Holdback to be sought through a formal fee
                    application to be filed with the Court.


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                                        James I. Stang               October 22, 2009                   jstang@pszjlaw.com
                                                                                                              310.772.2354



                                        Via Email
L O S A N G E L E S, C A
S A N F R A N C I S C O, C A            phuygens@rhodeshomes.com
W I L M I N G T O N, D E
N E W Y O R K, N Y                      Rhodes Homes
                                        4730 S. Forth Apache Road, Suite 300
10100 SANTA MONICA BLVD.
11th FLOOR
                                        Las Vegas, NV 89147
LOS ANGELES
CALIFORNIA 90067-4100

TELEPHONE: 310/277 6910                            Re:   The Rhodes Companies, LLC, et al.1
FACSIMILE: 310/201 0760                                  Bankruptcy Case No. S-09-14814-LBR
                                                         (Jointly Administered)
                                                         Pachulski Stang Ziehl & Jones LLP
                                                         Monthly Fee Statement – September 2009

                                        Dear Paul:

                                               This letter supersedes my letter to you of October 15, 2009.
                                        Pachulski Stang Ziehl & Jones LLP (“PSZJ”) submits the revised
                                        statement of fees and expenses for the month of September 2009
SAN FRANCISCO
150 CALIFORNIA STREET
                                        (the “Compensation Period”) as counsel for the Debtors and Debtors
15th FLOOR
SAN FRANCISCO
                                        1
CALIFORNIA 94111-4500                    The Debtors in these cases, along with their case numbers are: Heritage Land
TELEPHONE: 415/263 7000                 Company, LLC (Case No. 09-14778); The Rhodes Companies, LLC (Case No.
FACSIMILE: 415/263 7010                 09-14814); Tribes Holdings, LLC (Case No. 09-14817); Apache
                                        Framing, LLC (Case No. 09-14818); Geronimo Plumbing LLC (Case No. 09-
                                        14820); Gung-Ho Concrete LLC (Case No. 09-14822); Bravo, Inc. (Case No. 09-
DELAWARE
                                        14825); Elkhorn Partners, A Nevada Limited Partnership (Case No. 09-14828);
919 NORTH MARKET STREET
                                        Six Feathers Holdings, LLC (Case No. 09-14833); Elkhorn Investments, Inc.
17th FLOOR
                                        (Case No. 09-14837); Jarupa, LLC (Case No. 09-14839); Rhodes Realty, Inc.
P.O. BOX 8705
WILMINGTON
                                        (Case No. 09-14841); C & J Holdings, Inc. (Case No. 09-14843); Rhodes Ranch
DELAWARE 19899-8705
                                        General Partnership (Case No. 09-14844); Rhodes Design and Development
                                        Corporation (Case No. 09-14846); Parcel 20, LLC (Case No. 09-14848); Tuscany
TELEPHONE: 302/652 4100                 Acquisitions IV, LLC (Case No. 09-14849); Tuscany Acquisitions III, LLC (Case
FACSIMILE: 302/652 4400                 No. 09-14850); Tuscany Acquisitions II, LLC (Case No. 09-14852); Tuscany
                                        Acquisitions, LLC (Case No. 09-14853); Rhodes Ranch Golf Country Club, LLC
NEW YORK                                (Case No. 09-14854); Overflow, LP (Case No. 09-14856); Wallboard, LP (Case
780 THIRD AVENUE                        No. 09-14858); Jackknife, LP (Case No. 09-14860); Batcave, LP (Case No. 09-
36th FLOOR                              14861); Chalkline, LP (Case No. 09-14862); Glynda, LP (Case No. 09-14865);
NEW YORK                                Tick, LP (Case No. 09-14866; Rhodes Arizona Properties, LLC (Case No. 09-
NEW YORK 10017-2024                     14868); Rhodes Homes Arizona, L.L.C. (Case No. 09-14882); Tuscany Golf
TELEPHONE: 212/561 7700
                                        Country Club, LLC (Case No. 09-14884); and Pinnacle Grading, LLC (Case No.
FACSIMILE: 212/561 7777
                                        09-14887.


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                    in Possession in accordance with the “Order Granting Debtors’
                    Motion for Administrative Order Pursuant to Sections 105(A) and
                    331 of the Bankruptcy Code and Bankruptcy Rule 2016 Establishing
                    Procedures for Interim Monthly Compensation and Reimbursement
                    of Expenses of Professionals” entered on May 18, 2009 (“Interim
                    Compensation Order”).

                    The time entries for PSZJ on this statement cover the period
                    September 1, 2009 through September 31, 2009, consisting of fees
                    in the amount of $161,206.00 and expenses in the amount of
                    $8,978.05 (see attached for detailed itemization). The amounts
                    reflect a voluntary reduction in fees and costs of $3,851.80 for
                    September 2009. Pursuant to the Interim Compensation Order,
                    PSZJ requests payment from the Debtors in the total amount of
                    $146,003.15, representing 85% of the total monthly fees in the
                    amount of $137,025.10 ($161,206.00 x 85%) plus the total monthly
                    expenses in the amount of $8,978.05.2

                            The charges and expenses incurred by PSZJ in this matter
                    are billed in accordance with its existing billing procedures and the
                    rates PSZJ charges for the services of its attorneys are the same or
                    lower rates than are charged for professional services rendered in
                    comparable non-bankruptcy related matters. Reimbursement is
                    sought for actual and necessary expenses in accordance with the
                    uniform policies of the firm.

                           If you have any questions or comments regarding the
                    foregoing, please do not hesitate to contact me.

                                                      Very truly yours,

                                                      /s/ James I. Stang

                                                      James I. Stang



                    Enclosures

                    2
                     The Interim Compensation Order requires that 15% of fees be held back (the
                    “Holdback”) and for approval of the Holdback to be sought through a formal fee
                    application to be filed with the Court.


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                                 PACHULSKI STANG ZIEHL & JONES LLP

                                                    10100 Santa Monica Boulevard
                                                             11th Floor
                                                       Los Angeles, CA 90067

                                                       September 30, 2009
                                 Invoice Number 86056                      73203 00002          JIS


            Rhodes Homes
            4730 South Fort Apache Road, Suite 300
            Las Vegas, Nevada 89147

           Balance forward as of last invoice, dated: September 30, 2009                                        $502,517.36
           A/R Adjustments                                                                                     -$147,338.05

           Net balance forward                                                                                 $355,179.31

            Re: Postpetititon


            Statement of Professional Services Rendered Through                      09/30/2009
                                                                                      Hours           Rate         Amount
              Asset Analysis/Recovery[B120]


09/22/09    SSC       Correspondence with T. Beckett re challenge deadline.              0.10         595.00            $59.50
09/22/09    SSC       Email to T. Beckett re challenge deadline.                         0.10         595.00            $59.50

              Task Code Total                                                            0.20                           $119.00


              Asset Disposition [B130]


09/01/09    SSC       Review non-core asset sale final list of lienholders from          0.10         595.00            $59.50
                      company.
09/08/09    WD        Preparation of notice re sale of noncore assets.                   1.50         495.00           $742.50
09/08/09    WD        Research re notice re sale of noncore assets.                      0.60         495.00           $297.00
09/08/09    WD        Preparation of notice re sale of noncore assets to                 1.10         495.00           $544.50
                      nonparties.
09/08/09    SSC       Correspondence with J. Gyllstrom re non-core asset sale            0.40         595.00           $238.00
                      procedure (.2); teleconference with J. Gyllstrom re same
                      (2).
09/08/09    SSC       Correspondence with W. Disse re non-core asset sale                0.60         595.00           $357.00
                      procedure notice (.1); review and revise non-core asset sale
                      procedure notice (5).
09/11/09    WD        Preparation of explanation of sale procedures to potential         1.20         495.00           $594.00
                      buyers of non-core assets.
09/11/09    SSC       Review and revise letter to potential purchasers.                  0.40         595.00           $238.00
09/14/09    WD        Preparation of explanation of sale procedures to potential         0.20         495.00            $99.00
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                   buyers of non-core assets.
09/14/09   WD      Preparation of notice re sale of non-core assets to           0.20        495.00        $99.00
                   non-parties.
09/15/09   WD      Research re sale of equipment.                                1.70        495.00       $841.50
09/15/09   WD      Preparation of notice to interested parties re sale of D11    0.80        495.00       $396.00
                   truck.
09/15/09   WD      Emails with Gyllstrom and Huygens re sale of D11 truck.       0.30        495.00       $148.50
09/15/09   WD      Teleconference with Gyllstrom re sale of D11 truck.           0.20        495.00        $99.00
09/15/09   WD      Preparation of notice re sale of noncore assets.              0.90        495.00       $445.50
09/15/09   SSC     Teleconference with P. Huygens re title report (.1);          0.30        595.00       $178.50
                   correspond with P. Dublin re same (.1); correspond with P.
                   Huygens re same .(1).
09/15/09   SSC     Teleconference with J. Gyllstrom re non core asset sale       0.20        595.00       $119.00
                   notice.
09/15/09   SSC     Coordinate non-core asset sale notice revisions.              0.50        595.00       $297.50
09/28/09   SSC     Email to company re non core asset sale.                      0.20        595.00       $119.00
09/28/09   SSC     Correspond with W. Disse re non core asset sale.              0.10        595.00        $59.50

           Task Code Total                                                       11.50                   $5,972.50


            Bankruptcy Litigation [L430]


09/11/09   SSC     Teleconference with T. Robinson re various litigation         0.50        595.00       $297.50
                   issues and follow up re same.

           Task Code Total                                                        0.50                    $297.50


            Case Administration [B110]


09/01/09   MAM     Update critical dates memorandum.                             0.20        195.00        $39.00
09/01/09   SSC     Analysis and consideration of returned orders (.3);           0.50        595.00       $297.50
                   correspondence with A. Landis re same (.2).
09/03/09   SSC     Review several entered orders and correspond with C.          0.30        595.00       $178.50
                   Shurtliff and S. Stanton re NOEs and coordinate service.
09/08/09   SSC     Correspond with M. Matteo re critical dates update.           0.10        595.00        $59.50
09/08/09   SSC     Review three proofs of service for filing.                    0.10        595.00        $59.50
09/09/09   MAM     Update critical dates memorandum.                             0.80        195.00       $156.00
09/09/09   SSC     Review and revise critical dates and forward same to          0.30        595.00       $178.50
                   company.
09/09/09   SSC     Review and direct M. Matteo re revisions needed to critical   0.20        595.00       $119.00
                   dates.
09/22/09   MAM     Update critical dates memorandum.                             0.40        195.00        $78.00
09/22/09   SSC     Review two notice of entry of orders.                         0.10        595.00        $59.50
09/22/09   SSC     Email to M. Matteo re update on critical dates list needed.   0.10        595.00        $59.50
09/22/09   SSC     Review and revise critical dates.                             0.10        595.00        $59.50
09/28/09   MAM     Update critical dates memorandum.                             0.30        195.00        $58.50
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 Invoice number 86056                 73203 00002                                                     Page 3

09/28/09   SSC     Teleconference with C. Shurtliff for filings.                 0.20        595.00       $119.00
09/29/09   SSC     Coordinate service of filed documents.                        0.20        595.00       $119.00
09/30/09   SSC     Review 8 proofs of service for filing.                        0.20        595.00       $119.00
09/30/09   SSC     Direct M. Matteo re supplement service list needed for        0.20        595.00       $119.00
                   agenda (.1); review and revise supplemental service list
                   from M. Matteo (.1).

            Task Code Total                                                       4.30                   $1,878.50


            Claims Admin/Objections[B310]


09/01/09   PJJ     Revise claims summary                                         5.80        225.00      $1,305.00
09/01/09   SSC     Correspond with R. Thorley re attorney for IRS.               0.10        595.00        $59.50
09/01/09   SSC     Correspond with IRS re Rhodes Homes objection.                0.20        595.00       $119.00
09/01/09   SSC     Review claims information from company.                       0.50        595.00       $297.50
09/02/09   PJJ     Update claims summary and analysis charts                     2.00        225.00       $450.00
09/02/09   PJJ     Draft multiple claim withdrawal letters and notices           7.80        225.00      $1,755.00
09/02/09   SSC     Review claims analysis.                                       0.20        595.00       $119.00
09/02/09   SSC     Review revised claims chart and correspond with company       0.30        595.00       $178.50
                   re same.
09/02/09   SSC     Review claim withdrawal letters from P. Jefferies and         0.20        595.00       $119.00
                   instruct P. Jefferies re same.
09/03/09   PJJ     Revise claims summary and analysis charts                     1.20        225.00       $270.00
09/03/09   SSC     Email correspondence with P. Jefferies re claim               0.20        595.00       $119.00
                   withdrawal letters.
09/03/09   SSC     Review and revise several claim withdrawal letters.           1.00        595.00       $595.00
09/08/09   WD      Research re J&J Enterprise lien.                              0.10        495.00        $49.50
09/08/09   WD      Research re service re compromise motions.                    0.20        495.00        $99.00
09/08/09   WD      Research re claims.                                           0.20        495.00        $99.00
09/08/09   WD      Research re mechanics' liens.                                 0.30        495.00       $148.50
09/08/09   SSC     Review and forward three claim withdrawal notices for         0.10        595.00        $59.50
                   filing.
09/08/09   SSC     Review file on payments to Spirit and Freedom and             0.20        595.00       $119.00
                   correspond with company re same.
09/09/09   MAM     Update claims withdrawal tracking chart.                      0.20        195.00        $39.00
09/09/09   PJJ     Review "unknown" claims, download and email same to S         1.00        225.00       $225.00
                   Cho.
09/09/09   PJJ     Update claims summary chart                                   1.30        225.00       $292.50
09/09/09   WD      Research re claims.                                           0.30        495.00       $148.50
09/09/09   WD      Research re mechanics' liens.                                 0.20        495.00        $99.00
09/09/09   SSC     Review and analysis re 10 unliquidated claims.                0.40        595.00       $238.00
09/09/09   SSC     Correspond with P. Jefferies re claim withdrawal letters.     0.20        595.00       $119.00
09/10/09   PJJ     Update claims summary and analysis charts                     6.00        225.00      $1,350.00
09/10/09   SSC     Correspondence with company re Commerce Associates            0.10        595.00        $59.50
                   claim.
09/10/09   SSC     Review revised claims chart and email to the company for      0.20        595.00       $119.00
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                 review.
09/10/09   SSC   Teleconference with P. Huygens re claims summary (.4);          0.60       595.00       $357.00
                 correspond with P. Jefferies re same (.2).
09/11/09   MAM   Update tracking chart with claim withdrawal updates.            0.30       195.00        $58.50
09/11/09   PJJ   Re-work claims summary/details chart                            6.00       225.00      $1,350.00
09/11/09   WD    Research re interest and late fees.                             0.50       495.00        $247.50
09/11/09   SSC   Review revised claim analysis and teleconference with P.        0.50       595.00       $297.50
                 Jefferies re same.
09/11/09   SSC   Review further revised claims analysis and teleconference       0.30       595.00       $178.50
                 with P. Jefferies re same.
09/12/09   SSC   Review and further revisions to claims summary (.3);            0.40       595.00       $238.00
                 correspondence with P. Huygens re same (.1).
09/14/09   PJJ   Emails re claims summary chart                                  0.20       225.00        $45.00
09/14/09   PJJ   Review and revise claims summary chart                          2.40       225.00       $540.00
09/14/09   PJJ   Review docket and download all Zurich claims                    0.60       225.00       $135.00
09/14/09   PJJ   Telephone call from S Cho and P Huygens re claim charts         0.30       225.00        $67.50
09/14/09   PJJ   Conference call to review claims analysis                       2.80       225.00       $630.00
09/14/09   SSC   Review and direct revisions of claims analysis.                 1.20       595.00       $714.00
09/14/09   SSC   Review emails from P. Jefferies re claims analysis.             0.20       595.00       $119.00
09/14/09   SSC   Further review of revised claims chart.                         0.40       595.00       $238.00
09/14/09   SSC   Extended teleconference with P. Huygens re claims call.         2.90       595.00      $1,725.50
09/15/09   PJJ   Research and download secured claims                            0.50       225.00       $112.50
09/15/09   PJJ   Draft multiple claim withdrawal letters and notices             5.00       225.00      $1,125.00
09/15/09   SSC   Email correspondence with P. Huygens on claims (.2);            0.30       595.00        $178.50
                 email correspondence with P. Jefferies re same (.1).
09/16/09   PJJ   Continue work on drafting multiple claim withdrawal             5.30       225.00      $1,192.50
                 letters and notices
09/16/09   PJJ   Conference call re claims analysis and reconciliation           2.30       225.00       $517.50
09/16/09   SSC   Review and direct revision to two claim withdrawal letters.     0.30       595.00       $178.50
09/16/09   SSC   Review and revise several claim withdrawal letters.             0.80       595.00       $476.00
09/17/09   PJJ   Draft multiple claim withdrawal letters and notices             9.80       225.00      $2,205.00
09/17/09   SSC   Review and revise 5 claim withdrawal letters.                   0.30       595.00       $178.50
09/17/09   SSC   Review claims summary and email to P. Dublin.                   0.30       595.00       $178.50
09/17/09   SSC   Teleconference with T. Beckett re claims summary.               0.20       595.00       $119.00
09/18/09   PJJ   Continue work on claim withdrawal letters and notices           0.80       225.00       $180.00
09/18/09   PJJ   Prepare claims analysis for distribution (.8); telephone call   1.00       225.00       $225.00
                 with S Cho re same (.2)
09/18/09   WD    Research re claims.                                             2.00       495.00       $990.00
09/18/09   SSC   Email to P. Huygens re claims analysis.                         0.80       595.00       $476.00
09/18/09   SSC   Teleconference with P. Huygens re claims.                       0.20       595.00       $119.00
09/18/09   SSC   Review 11 claim withdrawal letters and direct revision to       0.40       595.00       $238.00
                 same.
09/18/09   SSC   Analysis re claims chart and sharing with OCUC.                 0.20       595.00       $119.00
09/21/09   PJJ   Review IRS claim objection status                               0.30       225.00        $67.50
09/21/09   PJJ   Draft claim withdrawal/amendment letters and notices            3.50       225.00       $787.50
09/21/09   PJJ   Telephone call from Wilmar Construction re claim                0.30       225.00        $67.50
                 objection (.2); email re same (.1)
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09/21/09   WD    Research re claims.                                           0.70       495.00       $346.50
09/21/09   SSC   Teleconference with P. Huygens re IRS claims.                 0.20       595.00       $119.00
09/21/09   SSC   Analysis re status of IRS claims.                             0.60       595.00       $357.00
09/21/09   SSC   Teleconference with S. McKenzie re IRS claims (.2); email     0.40       595.00       $238.00
                 to P. Huygens re same (.2).
09/21/09   SSC   Review and email to T. Beckett re claims analysis.            0.20       595.00       $119.00
09/21/09   SSC   Email to P. Jefferies re analysis on IRS claims.              0.10       595.00        $59.50
09/21/09   SSC   Review and revise IRS stipulation (.3); draft email to IRS    0.50       595.00       $297.50
                 re same (.2).
09/22/09   PJJ   Telephone call with Jackie Nelson from National City          0.30       225.00        $67.50
                 Commercial re claim withdrawal letter (.2); email re same
                 (.1)
09/22/09   PJJ   Continue work on drafting claim withdrawal/amendment          4.30       225.00       $967.50
                 letters and notices
09/22/09   PJJ   Draft claim objections                                        3.80       225.00       $855.00
09/22/09   PJJ   Telephone call with S Cho and W Disse re claim                0.50       225.00       $112.50
                 objections
09/22/09   PJJ   Prepare claim summary by Plan Class for OCUC                  4.00       225.00       $900.00
09/22/09   WD    Research re claims objections.                                1.50       495.00       $742.50
09/22/09   SSC   Teleconference with T. Beckett re claims analysis (.2);       0.70       595.00       $416.50
                 correspondence with P. Jefferies re analysis needed (.5).
09/22/09   SSC   Review correspondence from M Hubbard re IRS claims.           0.10       595.00        $59.50
09/22/09   SSC   Review four claim letters for withdrawal.                     0.30       595.00       $178.50
09/22/09   SSC   Correspond with M. Hubbard re IRS claim.                      0.20       595.00       $119.00
09/22/09   SSC   Email to M. Hubbard re IRS claims.                            0.10       595.00        $59.50
09/22/09   SSC   Claims call with P. Jefferies and W. Disse (.5); follow up    0.70       595.00       $416.50
                 call with W. Disse (.2).
09/22/09   SSC   Review 5 notice of withdrawal letters.                        0.30       595.00       $178.50
09/23/09   MAM   Update tracking chart for claim withdrawal letters.           0.30       195.00        $58.50
09/23/09   PJJ   Work on claim objections                                      2.50       225.00       $562.50
09/23/09   PJJ   Telephone calls to claimants re follow up on withdrawal       0.30       225.00        $67.50
                 letters
09/23/09   PJJ   Telephone call to National City Commercial re claim           0.20       225.00        $45.00
                 withdrawal letter
09/23/09   WD    Research re claims objections.                                0.30       495.00       $148.50
09/23/09   SSC   Review and revise first omnibus objection to paid claims.     0.40       595.00       $238.00
09/23/09   SSC   Prepare for T. Beckett call (.4); Teleconference with T.      0.90       595.00       $535.50
                 Beckett re claims (.4); follow up correspondence (.1).
09/24/09   PJJ   Draft claim objections                                        3.30       225.00       $742.50
09/24/09   PJJ   Update claims tracking chart                                  0.60       225.00       $135.00
09/24/09   PJJ   Telephone call from Cabinetec re claim withdrawal (.2);       0.30       225.00        $67.50
                 email re same (.1)
09/24/09   PJJ   Draft letters requesting withdrawal or amendment of           1.80       225.00       $405.00
                 claims, and Notice re same
09/24/09   WD    Research re claims objections.                                0.50       495.00       $247.50
09/24/09   WD    Preparation of omnibus claims objection.                      0.80       495.00       $396.00
09/24/09   SSC   Review and revise IRS letter.                                 0.40       595.00       $238.00
09/24/09   SSC   Teleconference with V. Lowe re IRS stipulation.               0.20       595.00       $119.00
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09/24/09   SSC   Teleconference with V. Lowe re IRS continuance (.2);         0.40       595.00       $238.00
                 correspond with company re same (.2).
09/24/09   SSC   Draft continuance stipulation re IRS objections.             0.20       595.00       $119.00
09/25/09   MAM   Update claim withdrawal tracking chart.                      0.20       195.00        $39.00
09/25/09   PJJ   Prepare list of creditors for which no proof of claim was    1.00       225.00       $225.00
                 filed for account reconciliation
09/25/09   SSC   Email to P. Dublin and T. Beckett re claim objections.       0.10       595.00        $59.50
09/25/09   SSC   Review and revise omnibus claim objection re paid claims.    0.50       595.00       $297.50
09/25/09   SSC   Email to T. Beckett re convenience class analysis.           0.20       595.00       $119.00
09/27/09   WD    Research re claims objections.                               0.30       495.00       $148.50
09/27/09   WD    Preparation of omnibus claims objection; exhibits and        0.80       495.00       $396.00
                 order.
09/27/09   WD    Preparation of objection to Qualcomm claim; exhibits and     0.30       495.00       $148.50
                 order.
09/28/09   MAM   Update tracking chart for claim withdrawals.                 0.50       195.00        $97.50
09/28/09   PJJ   Update claims analysis and summary charts                    2.50       225.00       $562.50
09/28/09   PJJ   Draft 2nd omnibus objection to amended IRS claims            1.00       225.00       $225.00
09/28/09   PJJ   Email to TI Residential's counsel re additional copies of    0.30       225.00        $67.50
                 invoices
09/28/09   WD    Preparation of omnibus claims objection; exhibits and        0.40       495.00       $198.00
                 order.
09/28/09   WD    Preparation of objection to Qualcomm claim; exhibits and     0.80       495.00       $396.00
                 order.
09/28/09   SSC   Review trade claims chart and teleconference with P.         0.50       595.00       $297.50
                 Jefferies re revisions to same.
09/28/09   SSC   Review and revise Qualcomm objection.                        0.40       595.00       $238.00
09/28/09   SSC   Review and revise insufficient documentation objection       0.40       595.00       $238.00
                 and forward same to company.
09/28/09   SSC   Correspond with P. Jefferies re omnibus objection needed     0.10       595.00        $59.50
                 on IRS claim.
09/28/09   SSC   Review and revise paid claims omnibus objection.             0.30       595.00       $178.50
09/29/09   PJJ   Review IRS objection (.3) and email re same (.1); research   0.40       225.00        $90.00
                 Bravo docket re amended claim and download same (.2)
09/29/09   PJJ   Telephone call from R. Dreitzer, Esq. counsel to Integrity   0.20       225.00        $45.00
                 Masonry re claim amendment letter
09/29/09   PJJ   Reconcile Integrity Masonry invoices and draft follow up     1.00       225.00       $225.00
                 letter to Dreitzer (.8); email to Nichole re same (.2)
09/29/09   PJJ   Review Qualcomm claim (.3); draft letter requesting          0.60       225.00       $135.00
                 additional information re same (.3)
09/29/09   PJJ   Review scheduled claims for which no proof of claim filed    0.50       225.00       $112.50
                 reconciliation (.4); email Nichole re same (.1)
09/29/09   WD    Preparation of notice of hearing re omnibus objection.       0.60       495.00       $297.00
09/29/09   SSC   Review and revise stipulation and order re continuance of    0.40       595.00       $238.00
                 IRS claims (.3); Correspond with V. Lowe re continuance
                 on IRS objection (.1).
09/29/09   SSC   Teleconference with P. Huygens re IRS tax objection.         0.50       595.00       $297.50
09/29/09   SSC   Teleconference with M. Hubbard re IRS claim issues.          0.20       595.00       $119.00
09/29/09   SSC   Teleconference with P. Huygens re IRS claim issues.          0.20       595.00       $119.00
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09/29/09   SSC     Coordinate filing claim objections.                              0.20        595.00        $119.00
09/29/09   SSC     Revise supplemental statement re IRS claims.                     0.50        595.00        $297.50
09/29/09   SSC     Revise second omnibus objection to IRS claims.                   0.50        595.00        $297.50
09/29/09   SSC     Correspond with company re IRS claims.                           0.10        595.00         $59.50
09/29/09   SSC     Teleconference with V. Lowe re IRS claims.                       0.20        595.00        $119.00
09/30/09   PJJ     Finalize accounting review and letter to Integrity Masonry       1.00        225.00        $225.00
                   re claim reconciliation (.8); emails re same (.2)
09/30/09   SSC     Review and respond to email from V. Lowe re order                0.10        595.00         $59.50
                   continuing stipulation.
09/30/09   SSC     Email to C. Shurtliff re filing of IRS continuance (.1);         0.20        595.00        $119.00
                   teleconference with C. Shurtliff re filing cash collateral
                   order (.1).

            Task Code Total                                                        135.60                   $43,260.00


            Comp. of Prof./Others


09/11/09   SSC     Teleconference with K. Perlman re Sullivan fees.                 0.20        595.00        $119.00
09/15/09   WD      Email Hubbard re Barcy retainer.                                 0.10        495.00         $49.50
09/21/09   SSC     Review Omni bill.                                                0.20        595.00        $119.00
09/22/09   WD      Preparation of order re Acceleron 1st interim fee                0.50        495.00        $247.50
                   application.
09/22/09   WD      Preparation of order re Sullivan 1st interim fee application.    0.50        495.00        $247.50
09/22/09   WD      Preparation of order re final Bejerano fee application.          0.50        495.00        $247.50
09/22/09   WD      Preparation of order re final Barcy fee application.             0.50        495.00        $247.50
09/22/09   SSC     Review fee app from committee and forward to company.            0.10        595.00         $59.50
09/23/09   WD      Email Wiles re order re Acceleron 1st interim fee                0.10        495.00         $49.50
                   application.
09/23/09   WD      Preparation of order re Sullivan 1st interim fee application.    0.60        495.00        $297.00
09/23/09   WD      Email Sullivan re order re Sullivan 1st interim fee              0.10        495.00         $49.50
                   application.
09/23/09   WD      Preparation of order re final Bejarano fee application.          0.60        495.00        $297.00
09/23/09   WD      Email Bejarano re order re final Bejarano fee application.       0.20        495.00         $99.00
09/23/09   WD      Preparation of order re final Barcy fee application.             0.60        495.00        $297.00
09/23/09   WD      Email Barcy re order re final Barcy fee application.             0.10        495.00         $49.50
09/23/09   WD      Preparation of order re Acceleron 1st interim fee                0.60        495.00        $297.00
                   application.
09/24/09   WD      Preparation of order re Acceleron 1st interim fee                0.20        495.00         $99.00
                   application.
09/24/09   WD      Preparation of order re Sulivan 1st interim fee application.     0.20        495.00         $99.00
09/24/09   WD      Preparation of order re final Bejarano fee application.          0.20        495.00         $99.00
09/24/09   WD      Preparation of order re final Barcy fee application.             0.20        495.00         $99.00
09/25/09   SSC     Review 4 proposed orders from professionals.                     0.30        595.00        $178.50
09/26/09   WD      Email Wiles re order re Acceleron 1st interim fee app.           0.10        495.00         $49.50
09/26/09   WD      Email Bejarano re order re final Bejarano fee app.               0.10        495.00         $49.50
09/26/09   WD      Email Barcy re order re final Barcy fee app.                     0.10        495.00         $49.50
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09/28/09   WD      Preparation of order re Acceleron 1st interim fee app.        0.40        495.00       $198.00
09/28/09   WD      Email Wiles re order re Acceleron 1st interim fee app.        0.10        495.00        $49.50
09/28/09   WD      Preparation of order re Sullivan 1st interim fee app.         0.40        495.00       $198.00
09/28/09   WD      Preparation of order re final Bejarano fee app.               0.40        495.00       $198.00
09/28/09   WD      Preparation of order re final Barcy fee app.                  0.40        495.00       $198.00
09/29/09   SSC     Review five interim fee application orders.                   0.30        595.00       $178.50
09/30/09   WD      Preparation of order re Acceleron 1st interim fee app.        0.20        495.00        $99.00
09/30/09   WD      Email Wiles re order re Acceleron 1st interim fee app.        0.10        495.00        $49.50

           Task Code Total                                                        9.20                   $4,664.00


            Employee Benefit/Pension-B220


09/08/09   SSC     Correspond with counsel for J. Rhodes re employee             0.90        595.00       $535.50
                   research issue (.2); teleconference with J. Stang re same
                   (.2); analysis re same .(5).

           Task Code Total                                                        0.90                    $535.50


            Executory Contracts [B185]


09/01/09   SSC     Review and analysis of subcontract and correspondence         0.50        595.00       $297.50
                   with T. Robinson.
09/08/09   SSC     Correspond with company re 365(d)(4) issues.                  0.30        595.00       $178.50
09/10/09   SSC     Correspondence with company re 365(d)(4) extension            0.20        595.00       $119.00
                   deadline.
09/10/09   SSC     Review and revise letter to landlords and email to company    0.20        595.00       $119.00
                   re same.
09/11/09   WD      Research re section 365(d)(4).                                0.30        495.00       $148.50
09/11/09   SSC     Review G. Rhodes letter and email to G. Rhodes counsel        0.10        595.00        $59.50
                   re signature needed on lease extension.
09/11/09   SSC     Teleconference with J. Hsu re 365(d)(4) extension (.1);       0.20        595.00       $119.00
                   revise letter to J. Hsu (.1).
09/14/09   WD      Research re section 365(d)(4).                                0.40        495.00       $198.00
09/15/09   WD      Research re Bankruptcy Rule 9006.                             0.20        495.00        $99.00
09/15/09   WD      Research re motion under section 365(d)(4) to extend time     0.70        495.00       $346.50
                   to assume or reject unexpired leases.
09/15/09   WD      Preparation of motion under section 365(d)(4) to extend       0.80        495.00       $396.00
                   time to assume or reject unexpired leases.
09/16/09   MAM     Create lease tracking chart for Shirley S. Cho.               3.00        195.00       $585.00
09/16/09   WD      Research re Rule 9006.                                        0.50        495.00       $247.50
09/16/09   WD      Research re section 365(d)(4) to extend time to assume or     1.60        495.00       $792.00
                   reject unexpired leases.
09/16/09   WD      Preparation of motion under section 365(d)(4) to extend       2.00        495.00       $990.00
                   time to assume or reject unexpired leases.
09/16/09   WD      Analysis of lease charts.                                     0.20        495.00        $99.00
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09/16/09   SSC    Teleconference with T. Robinson re lease extension (.1);        0.20        595.00       $119.00
                  direct M. Matteo re lease list needed (.1).
09/16/09   SSC    Teleconference with R. Frank re lease extension.                0.10        595.00        $59.50
09/16/09   SSC    Review and direct revision re lease chart.                      0.10        595.00        $59.50
09/18/09   MAM    Update chart for tracking lease extensions.                     0.90        195.00       $175.50
09/18/09   SSC    Review and revise lease extension motion.                       0.50        595.00       $297.50
09/21/09   MAM    Telephone call with Frank at Flamingo Storage regarding         0.30        195.00        $58.50
                  lease extension consent.
09/21/09   WD     Analysis of lease charts.                                       0.10        495.00        $49.50
09/21/09   WD     Research re section 365(d)(4) to extend time to assume or       0.40        495.00       $198.00
                  reject unexpired leases.
09/21/09   SSC    Coordinate follow up on landlord extension chart with M.        0.20        595.00       $119.00
                  Matteo.
09/21/09   SSC    Review and revise lease extension motion and exhibits           0.70        595.00       $416.50
                  (.5); email to P. Dublin and T. Beckett re same (.1); email
                  to P. Huygens re same (.1).
09/22/09   MAM    Revise Leaseback exhibit.                                       0.50        195.00        $97.50
09/22/09   SSC    Analysis re status of leases.                                   0.20        595.00       $119.00
09/23/09   MAM    Telephone call with Warm Springs R.V. & Mini Storage            0.20        195.00        $39.00
                  regarding consent to extend 364(d)(4) deadline.
09/23/09   MAM    Update leaseback exhibit and finalize for filing.               0.50        195.00        $97.50
09/23/09   SSC    Correspond with company re lease extension motion.              0.20        595.00       $119.00
09/24/09   MAM    Update landlord consent tracking chart for 365(d)(4)            0.30        195.00        $58.50
                  extension.
09/24/09   SSC    Finalize lease extension motion (.6); correspond with           0.80        595.00       $476.00
                  company re missing landlord consents (.2).
09/24/09   SSC    Review final lease extension motion.                            0.20        595.00       $119.00
09/25/09   MAM    Amend landlord consent letters to Cheung with new               0.50        195.00        $97.50
                  deadlines.
09/28/09   MAM    Update tracking chart for landlord consents.                    0.40        195.00        $78.00
09/28/09   SSC    Review plan for list of contracts to be assumed.                0.20        595.00       $119.00
09/28/09   SSC    Review signed letters from Cheung and email to M.               0.20        595.00       $119.00
                  Matteo re update needed to landlord chart (.1); email to R.
                  Soucie re additional letters needed (.1).

           Task Code Total                                                        18.90                   $7,885.50


            Fee/Employment Application


09/14/09   SSC    Review and revise August exhibit to monthly fee                 0.50        595.00       $297.50
                  statement.
09/16/09   SSC    Review and revise August monthly fee statement invoice.         0.30        595.00       $178.50
09/18/09   SSC    Revise fee letter (.2); email to notice parties re August fee   0.30        595.00       $178.50
                  letter (.1).
09/21/09   MAM    Calendar response date for any opposition to PSZJ               0.30        195.00        $58.50
                  monthly fee statement.
09/22/09   WD     Preparation of order re PSZJ 1st interim fee application.       0.80        495.00       $396.00
09/23/09   WD     Preparation of order re PSZJ 1st interim fee application.       0.30        495.00       $148.50
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09/24/09   WD      Preparation of order re PSZJ 1st interim fee application.        0.20       495.00        $99.00
09/28/09   WD      Preparation of order re PSZJ 1st interim fee app.                0.40       495.00       $198.00
09/29/09   JIS     Review reply to fee objection.                                   0.20       825.00       $165.00
09/29/09   PJJ     Analyze Trustee objection to fee application                     0.50       225.00       $112.50
09/29/09   SSC     Review email from A. Landis re resolving UST objection           0.30       595.00       $178.50
                   (.1); draft proposed order (.2).
09/29/09   SSC     Draft reply to UST objection re PSZJ fee app (.6); email         0.80       595.00       $476.00
                   to C. Shurtliff for filing (.2).
09/30/09   PJJ     Calculate blended fee rates for use at fee hearing               0.30       225.00        $67.50
09/30/09   PJJ     Email from/to S Cho re blended fee rate                          0.10       225.00        $22.50

            Task Code Total                                                         5.30                   $2,576.50


            Financing [B230]


09/15/09   SSC     Review email from P. Dublin re check signers and                 0.10       595.00        $59.50
                   correspond with company re same.
09/15/09   SSC     Draft stipulation re check signers.                              0.20       595.00       $119.00
09/16/09   JIS     Telephone conference with Jim Rhodes re signature                0.20       825.00       $165.00
                   authority stipulation.
09/16/09   SSC     Correspond with P. Dublin re check signers stipulation           0.50       595.00       $297.50
                   (.1); coordinate filing check signers stipulation (.2); revise
                   order re stipulation (.2).
09/16/09   SSC     Teleconference with Z. Larson re cash collateral                 0.10       595.00        $59.50
                   stipulation.
09/17/09   SSC     Correspond with A. Landis re two orders to sign.                 0.10       595.00        $59.50
09/17/09   SSC     Review and revise order approving cash collateral                0.10       595.00        $59.50
                   stipulation and email to A. Landis.
09/18/09   SSC     Correspond with P. Dublin re status of orders pending.           0.10       595.00        $59.50
09/18/09   SSC     Teleconference with A. Landis re signature needed on two         0.30       595.00       $178.50
                   orders (.1); review signed orders and coordinate filing of
                   same (.2).
09/21/09   SSC     Review Akin bill for reasonableness.                             0.20       595.00       $119.00
09/22/09   SSC     Review entered order re cash collateral order and                0.10       595.00        $59.50
                   correspond with company re same.
09/28/09   SSC     Draft third stipulation re cash collateral continuance.          0.50       595.00       $297.50
09/28/09   SSC     Correspond with company re timing of budget.                     0.10       595.00        $59.50
09/28/09   SSC     Teleconference with P. Huygens re budget (.1);                   0.20       595.00       $119.00
                   teleconference with C. Shurtliff re information needed for
                   budget (.1).
09/30/09   SSC     Review correspondence re final budget (.2); review cash          0.90       595.00       $535.50
                   collateral order (.2); teleconference with P. Huygens re
                   cash collateral order (.1); further review based on
                   comments received (.4).
09/30/09   SSC     Correspond with J. Gyllstrom re status of final cash             0.20       595.00       $119.00
                   collateral budget.
09/30/09   SSC     Review revised budget.                                           0.50       595.00       $297.50
09/30/09   SSC     Review and revise cash collateral stipulation based on           0.40       595.00       $238.00
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                   comments received and email to lenders.
09/30/09   SSC     Review and revise order approving cash collateral              0.30        595.00       $178.50
                   stipulation.
09/30/09   SSC     Teleconference with P. Huygens re status of cash collateral    0.30        595.00       $178.50
                   budget and other matters.

            Task Code Total                                                        5.40                   $3,259.00


            Hearing


09/28/09   MAM     Draft notice of agenda for October 2, 2009 omnibus             3.80        195.00       $741.00
                   hearing.
09/28/09   SSC     Correspond with W. Disse re hearing logistics.                 0.20        595.00       $119.00
09/28/09   SSC     Review and revise hearing agenda.                              0.30        595.00       $178.50
09/28/09   SSC     Correspond with Z. Larson re hearing coverage.                 0.10        595.00        $59.50
09/29/09   MAM     Amend notice of agenda for October 2, 2009 hearing.            0.50        195.00        $97.50
09/29/09   SSC     Draft email to court re proposed orders for hearing.           0.20        595.00       $119.00
09/29/09   SSC     Review and revise hearing agenda.                              0.50        595.00       $297.50
09/29/09   SSC     Correspond with court re November omnibus date.                0.10        595.00        $59.50
09/29/09   SSC     Coordinate telephonic appearance of professionals.             0.20        595.00       $119.00
09/29/09   SSC     Meet and confer with J. Stang re status of hearing matters.    0.20        595.00       $119.00
09/29/09   SSC     Teleconference with M. Lahaie re hearing.                      0.10        595.00        $59.50
09/30/09   JIS     Review October 2 agenda.                                       0.80        825.00       $660.00
09/30/09   JIS     Review issues regarding 10/02 hearing.                         0.40        825.00       $330.00
09/30/09   MAM     Create supplemental service list for notice of agenda for      0.80        195.00       $156.00
                   the October 2, 2009 omnibus hearing.
09/30/09   WD      Preparation for 10/2 hearing.                                  2.60        495.00      $1,287.00
09/30/09   SSC     Review talking points outline and email to W. Disse re         0.50        595.00        $297.50
                   same.
09/30/09   SSC     Review hearing binder and direct A. Bonn re revisions.         0.50        595.00       $297.50
09/30/09   SSC     Further review to agenda based on developments to              0.50        595.00       $297.50
                   hearing items.
09/30/09   SSC     Email to P. Huygens re hearing items to review.                0.10        595.00        $59.50
09/30/09   SSC     Email to A. Landis re orders to sign for hearing.              0.20        595.00       $119.00
09/30/09   SSC     Coordinate filings and service re omnibus hearing matters.     0.30        595.00       $178.50
09/30/09   SSC     Review and revise agenda based on updates.                     0.50        595.00       $297.50
09/30/09   SSC     Draft email to court re forms of orders and status of          0.80        595.00       $476.00
                   matters for hearing.
09/30/09   SSC     Meet and confer with J. Stang re hearing preparation.          0.60        595.00       $357.00

            Task Code Total                                                       14.80                   $6,782.00


            Operations [B210]


09/01/09   SSC     Draft correspondence to Merrill Lynch re bank accounts.        0.20        595.00       $119.00
09/02/09   SSC     Analysis re business operations matters (.5); teleconference   1.00        595.00       $595.00
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                   with T. Robinson re various matters (.5).
09/03/09   SSC     Email correspondence with T. Robinson on various             0.30        595.00       $178.50
                   matters.
09/15/09   WD      Email with Hubbard re closed bank accounts.                  0.20        495.00        $99.00
09/15/09   SSC     Teleconference with M. Hubbard re UST questions on           0.10        595.00        $59.50
                   bank accounts and voicemail to C. Finnerman re same.
09/15/09   SSC     Follow up email to Merrill Lynch re sending paperwork        0.10        595.00        $59.50
                   necessary to close accounts.
09/16/09   SSC     Teleconference with G. Romantzick, Merrill Lynch, re         0.30        595.00       $178.50
                   bank accounts (.1); email to G. Romantzick re same (.2).
09/30/09   SSC     Correspond with G. Romantcik, Merrill Lynch, re closing      0.20        595.00       $119.00
                   bank accounts.

            Task Code Total                                                      2.40                   $1,408.00


            Plan & Disclosure Stmt. [B320]


09/01/09   SSC     Review and revise term sheet and correspondence with         0.50        595.00       $297.50
                   company.
09/01/09   SSC     Correspond with B. Axelrod re status of term sheet           0.10        595.00        $59.50
                   revisions.
09/01/09   SSC     Review email and attachments from A. Loraditch re            0.20        595.00       $119.00
                   revised term sheets.
09/01/09   SSC     Review correspondence re trademark list (.2);                0.40        595.00       $238.00
                   teleconference with B. Axelrod re same (.2).
09/02/09   JIS     Review modifications/status of mediation agreement.          0.30        825.00       $247.50
09/03/09   JIS     Review term sheet from FLSC.                                 0.50        825.00       $412.50
09/03/09   JIS     Call with Paul Huygens re FLSC term sheet.                   0.70        825.00       $577.50
09/03/09   JIS     Telephone conference with Jim Rhodes re communications       0.50        825.00       $412.50
                   with WCP for due diligence re plan term sheet.
09/03/09   SSC     Teleconference with P. Huygens re plan mediation term        0.50        595.00       $297.50
                   sheet.
09/03/09   SSC     Review and analysis re plan mediation term sheet.            0.70        595.00       $416.50
09/03/09   SSC     Correspondence with A. Quereshi re term sheet.               0.20        595.00       $119.00
09/04/09   JIS     Review and respond to Neiter email regarding status of       0.20        825.00       $165.00
                   mediation term sheet and telephone conference with Brett
                   Axelrod re same (.1).
09/08/09   SSC     Correspond with P. Dublin re plan attachment.                0.20        595.00       $119.00
09/09/09   JIS     Telephone call with Rhodes re plan status, golf course.      0.80        825.00       $660.00
09/09/09   SSC     Review and revise disclosure statement order.                0.50        595.00       $297.50
09/09/09   SSC     Revise substantive consolidation insert for plan.            1.50        595.00       $892.50
09/09/09   SSC     Review and analysis re plan documents needed.                0.40        595.00       $238.00
09/09/09   SSC     Coordinate plan service issues.                              0.20        595.00       $119.00
09/09/09   SSC     Review plan solicitation procedures motion.                  0.60        595.00       $357.00
09/09/09   SSC     Review and revise plan confirmation timeline.                0.30        595.00       $178.50
09/09/09   SSC     Correspond with P. Dublin re plan call needed.               0.10        595.00        $59.50
09/09/09   SSC     Teleconference with B. Axelrod, P. Huygens re plan items.    0.50        595.00       $297.50
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09/09/09   SSC   Review email from B. Axelrod re status of plan mediation       0.20       595.00       $119.00
                 term sheet (.1); call to B. Axelrod re same (.1).
09/09/09   SSC   Teleconference with B. Axelrod re status.                      0.20       595.00       $119.00
09/09/09   SSC   Teleconference with P. Huygens re status.                      0.20       595.00       $119.00
09/10/09   PJJ   Prepare service list for Plan and Disclosure Statement         1.50       225.00        $337.50
09/10/09   SSC   Review and revise plan solicitation procedures motion.         2.20       595.00      $1,309.00
09/10/09   SSC   Correspondence with P. Dublin re plan logistics call and T.    0.10       595.00        $59.50
                 Beckett re same.
09/10/09   SSC   Review and revise ballot (.3); email to B. Osborne re same     0.40       595.00       $238.00
                 (.1).
09/10/09   SSC   Review and revise plan support letter.                         0.40       595.00       $238.00
09/10/09   SSC   Review and revise notice of entry of disclosure statement      0.50       595.00       $297.50
                 order.
09/10/09   SSC   Review and revise notice of non-voting status.                 0.40       595.00       $238.00
09/10/09   SSC   Review and revise disclosure statement order.                  0.30       595.00       $178.50
09/11/09   JIS   Review Plan/Disclosure Statement time line and tasks.          0.20       825.00       $165.00
09/11/09   JIS   Continued review of plan time lines and document               0.50       825.00       $412.50
                 production TR.
09/11/09   SSC   Review and revise plan documents list.                         0.50       595.00       $297.50
09/11/09   SSC   Teleconference with P. Dublin re plan logistics (.5); review   1.00       595.00       $595.00
                 and revise plan timeline (.5).
09/11/09   SSC   Draft Arizona property insert.                                 0.60       595.00       $357.00
09/11/09   SSC   Teleconference with J. Gyllstrom re Arizona property           0.80       595.00       $476.00
                 insert (.3); follow up teleconference with J. Gyllstrom re
                 edits to Arizona property insert (.4); review and revise
                 Arizona insert (.1).
09/11/09   SSC   Teleconference with B. Axelrod re plan logistics.              0.40       595.00       $238.00
09/11/09   SSC   Review and revise sub con insert based on comments             0.50       595.00       $297.50
                 received.
09/11/09   SSC   Analysis re service of disclosure statement notice (.5);       0.60       595.00       $357.00
                 correspond with P. Dublin re same (.1).
09/11/09   SSC   Review and revise disclosure statement notice.                 0.20       595.00       $119.00
09/12/09   SSC   Review and revise plan inserts based on comments               0.30       595.00       $178.50
                 received and email same to counsel for FLSC and OCUC.
09/12/09   SSC   Review and revise solicitation motion.                         1.00       595.00       $595.00
09/14/09   JIS   Review implications of joint plan with FLSC.                   0.40       825.00       $330.00
09/14/09   SSC   Review and revise solicitation procedures motion.              1.00       595.00       $595.00
09/14/09   SSC   Review voicemail from J. Gyllstrom and email to J.             0.20       595.00       $119.00
                 Gyllstrom re Arizona.
09/15/09   MAM   Research for Shirley S. Cho regarding motion to approve        0.50       195.00        $97.50
                 disclosure statement.
09/15/09   PJJ   Work on service list for Plan and Disclosure Statement         1.30       225.00       $292.50
09/15/09   SSC   Analysis re plan from Akin.                                    4.20       595.00      $2,499.00
09/15/09   SSC   Review list of Arizona property and correspond with P.         0.10       595.00        $59.50
                 Huygens re same.
09/15/09   SSC   Review and revise plan of reorganization from Akin.            3.30       595.00      $1,963.50
09/16/09   JIS   Review comments re Plan.                                       0.30       825.00       $247.50
09/16/09   JIS   Review issues related to fee applications and Plan             0.50       825.00       $412.50
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                 confirmation process.
09/16/09   WD    Research re exculpation/release provision in plan.             1.50       495.00       $742.50
09/16/09   SSC   Further review and consideration of plan.                      2.00       595.00      $1,190.00
09/16/09   SSC   Review and revise disclosure statement.                        2.00       595.00      $1,190.00
09/16/09   SSC   Direct M. Matteo re service list needed for disclosure         0.10       595.00        $59.50
                 statement.
09/16/09   SSC   Voicemail to A. Landis re same.                                0.10       595.00        $59.50
09/16/09   SSC   Teleconference with P. Dublin re disclosure statement          1.00       595.00       $595.00
                 hearing (.2); draft stipulation extending plan moratorium
                 and attend to scheduling issues re same (.8).
09/17/09   JIS   Review issues related to Disclosure Statement and              0.80       825.00       $660.00
                 outstanding conditions to confirmation of Plan/effective
                 date of Plan (golf course financing, execution of tax
                 treatment, post-confirmation mgmt).
09/17/09   JIS   Review redline of Plan and Disclosure Statement.               1.90       825.00      $1,567.50
09/17/09   SSC   Review and revise order approving plan moratorium.             0.20       595.00        $119.00
09/17/09   SSC   Further teleconference with J. Gyllstrom re Arizona.           0.20       595.00       $119.00
09/17/09   SSC   Analysis re case law associated on plan issues.                2.00       595.00      $1,190.00
09/17/09   SSC   Further review and revise disclosure statement.                2.40       595.00      $1,428.00
09/17/09   SSC   Review and revise plan.                                        0.50       595.00       $297.50
09/17/09   SSC   Email to P. Dublin, et al. re revisions to plan.               0.20       595.00       $119.00
09/17/09   SSC   Email to P. Dublin, et al. re revisions to disclosure          0.20       595.00       $119.00
                 statement.
09/17/09   SSC   Teleconference with P. Huygens re deal and plan issues.        1.00       595.00       $595.00
09/17/09   SSC   Review and finalize comments from counsel re plan              0.80       595.00       $476.00
                 moratorium stipulation (.5); coordinate filing of same (.3).
09/17/09   SSC   Teleconference with J. Gyllstrom re Arizona.                   0.20       595.00       $119.00
09/18/09   MAM   Create service list for third party entities regarding         0.80       195.00       $156.00
                 disclosure statement.
09/18/09   PJJ   Telephone call with S Cho re solicitation                      0.20       225.00        $45.00
09/18/09   WD    Research re post-confirmation interest rates.                  1.60       495.00       $792.00
09/18/09   WD    Research re disclosure statement.                              0.20       495.00        $99.00
09/18/09   SSC   Review and revise balloting material, disclosure statement     0.90       595.00       $535.50
                 notice, and supporting materials.
09/18/09   SSC   Teleconference with P. Jefferies re service on disclosure      0.20       595.00       $119.00
                 statement and claims chart.
09/18/09   SSC   Review Greenberg comments to plan and disclosure               0.40       595.00       $238.00
                 statement.
09/18/09   SSC   Review and revise solicitation motion (1.0); review and        1.30       595.00       $773.50
                 revise notice of disclosure statement hearing (.1); email to
                 P. Dublin re service (.2).
09/18/09   SSC   Further review and revision to solicitation motion.            1.00       595.00       $595.00
09/19/09   SSC   Teleconference with P. Huygens re plan comment.                0.10       595.00        $59.50
09/21/09   MAM   Amend service list for plan and disclosure statement.          1.50       195.00       $292.50
09/21/09   MAM   Create exhibit regarding pending litigation to attach to       2.90       195.00       $565.50
                 Disclosure Statement.
09/21/09   PJJ   Calculate convenience class claims                             1.00       225.00       $225.00
09/21/09   PJJ   Work on service list for solicitation                          2.30       225.00       $517.50
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09/21/09   WD    Research re post-confirmation interest rates.                0.20       495.00        $99.00
09/21/09   SSC   Email to P. Dublin re disclosure statement revision.         0.10       595.00        $59.50
09/21/09   SSC   Email to B. Axelrod re plan status on tax.                   0.10       595.00        $59.50
09/21/09   SSC   Coordinate service of disclosure statement.                  0.40       595.00       $238.00
09/21/09   SSC   Teleconference with T. Beckett re status.                    0.20       595.00       $119.00
09/21/09   SSC   Review solicitation procedures precedent and email to        0.30       595.00       $178.50
                 Akin re same.
09/21/09   SSC   Review and revise solicitation motion exhibits.              0.80       595.00       $476.00
09/21/09   SSC   Review and email to T. Robinson re litigation file needed    0.20       595.00       $119.00
                 for disclosure statement.
09/21/09   SSC   Teleconference with T. Beckett re claim procedures.          0.20       595.00       $119.00
09/22/09   SSC   Review two entered orders re disclosure statement            0.20       595.00       $119.00
                 scheduling and correspondence with company re same.
09/22/09   SSC   Review email from P. Huygens re term sheet revisions.        0.10       595.00        $59.50
09/22/09   SSC   Review revised term sheet from P. Dublin.                    0.30       595.00       $178.50
09/22/09   SSC   Draft email to R. Neiter re status of plan mediation         0.20       595.00       $119.00
                 negotiations.
09/22/09   SSC   Email to Omni re disclosure statement service call needed.   0.10       595.00        $59.50
09/22/09   SSC   Email to P. Dublin re status.                                0.10       595.00        $59.50
09/22/09   SSC   Review C. Rice comments to term sheet.                       0.10       595.00        $59.50
09/23/09   PJJ   Conference call re solicitation procedures                   0.40       225.00        $90.00
09/23/09   SSC   Review and revise plan.                                      2.60       595.00      $1,547.00
09/23/09   SSC   Review and revise solicitation motion from Akin (.8);        1.00       595.00       $595.00
                 review notice of hearing of disclosure statement and email
                 to Akin re same (.2).
09/23/09   SSC   Review revised plan and draft email to P. Dublin re          0.50       595.00       $297.50
                 revisions.
09/23/09   SSC   Teleconference with B. Osborne re disclosure statement       0.40       595.00       $238.00
                 service.
09/23/09   SSC   Teleconference with Omni re service of disclosure            0.30       595.00       $178.50
                 statement.
09/23/09   SSC   Teleconference with P. Dublin re plan service.               0.20       595.00       $119.00
09/23/09   SSC   Analysis of term sheet and email to P. Dublin re revision.   0.20       595.00       $119.00
09/23/09   SSC   Review correspondence between Dublin and Axelrod re          0.20       595.00       $119.00
                 remaining issues.
09/23/09   SSC   Review and revise plan per comments received.                1.00       595.00       $595.00
09/24/09   PJJ   Telephone call with S Cho re Plan calculations needed        0.20       225.00        $45.00
09/24/09   SSC   Review final revised term sheet.                             0.30       595.00       $178.50
09/24/09   SSC   Teleconference with P. Huygens and B. Axelrod re same.       0.50       595.00       $297.50
09/24/09   SSC   Teleconference with P. Huygens re same.                      0.30       595.00       $178.50
09/24/09   SSC   Analysis re revised mediation term sheet.                    0.50       595.00       $297.50
09/24/09   SSC   Teleconference with P. Dublin re plan issues.                0.30       595.00       $178.50
09/24/09   SSC   Extended teleconference with P. Huygens re plan              1.00       595.00       $595.00
                 comments.
09/24/09   SSC   Teleconference with P. Dublin, T. Beckett, B. Axelrod re     1.40       595.00       $833.00
                 final plan comments.
09/24/09   SSC   Review and revise plan timeline based on call.               0.20       595.00       $119.00
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09/24/09   SSC     Correspond with Omni re disclosure statement service.           0.30        595.00        $178.50
09/25/09   PJJ     Emails re solicitation procedures                               4.00        225.00        $900.00
09/25/09   PJJ     Prepare calculations for OCUC re Plan classes                   2.50        225.00        $562.50
09/25/09   PJJ     Telephone call with S Cho re solicitation procedures            0.40        225.00         $90.00
09/25/09   PJJ     Review solicitation procedures                                  0.50        225.00        $112.50
09/25/09   PJJ     Prepare list of creditors by class for solicitation purposes    2.30        225.00        $517.50
09/25/09   SSC     Email to company re plan.                                       0.10        595.00         $59.50
09/25/09   SSC     Teleconference with P. Huygens re additional comments to        0.60        595.00        $357.00
                   disclosure statement (.4); correspond with P. Dublin re
                   same (.2).
09/25/09   SSC     Review solicitation motion and exhibits.                        1.90        595.00      $1,130.50
09/25/09   SSC     Teleconference with A. Loraditch re plan.                       0.20        595.00        $119.00
09/25/09   SSC     Teleconference with B. Axelrod re plan.                         0.20        595.00        $119.00
09/25/09   SSC     Multiple emails with Omni re service of disclosure              0.50        595.00        $297.50
                   statement and form of notice of hearing on disclosure
                   statement.
09/25/09   SSC     Review and revise disclosure statement and email to P.          1.20        595.00        $714.00
                   Dublin re changes.
09/25/09   SSC     Correspond with P. Dublin re status of term sheet.              0.20        595.00        $119.00
09/25/09   SSC     Correspond with company re status of term sheet.                0.10        595.00         $59.50
09/25/09   SSC     Review and revise plan of reorganization.                       1.80        595.00      $1,071.00
09/25/09   SSC     Teleconference with J. Gyllstrom re going concern               0.20        595.00        $119.00
                   analysis.
09/25/09   SSC     Teleconference with E. Kim re going concern analysis.           0.20        595.00        $119.00
09/25/09   SSC     Correspond with P. Dublin re going concern analysis and         0.10        595.00         $59.50
                   liquidation analysis.
09/25/09   SSC     Teleconference with P. Huygens re plan.                         0.20        595.00        $119.00
09/25/09   SSC     Teleconference with T. Beckett re plan.                         0.20        595.00        $119.00
09/28/09   PJJ     Telephone call from S Cho re solicitation procedures (.2);      1.40        225.00        $315.00
                   revise balloting tabulation chart (1.2)
09/28/09   SSC     Email to company re classification issues for plan.             0.20        595.00        $119.00
09/28/09   SSC     Teleconference with T. Robinson re plan.                        0.20        595.00        $119.00
09/28/09   SSC     Review third party causes of action/ claims list and email      0.20        595.00        $119.00
                   to company re same.
09/28/09   SSC     Review going concern analysis and liquidation analysis          0.50        595.00        $297.50
                   and comments from company re same.
09/28/09   SSC     Review filed disclosure statement and plan and direct           0.20        595.00        $119.00
                   service.
09/30/09   SSC     Teleconference with P. Huygens re comments to going             0.40        595.00        $238.00
                   concern analysis (.2); teleconference with P. Dublin re
                   same (.2).

            Task Code Total                                                       102.10                   $53,207.50


            Ret. of Prof./Other


09/01/09   WD      Emails with Robinson re Baird employment.                       0.20        495.00         $99.00
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09/01/09   WD        Research re retention of Baird law firm.                            0.10           495.00        $49.50
09/02/09   WD        Emails with Robinson re Baird employment.                           0.10           495.00        $49.50
09/02/09   SSC       Follow up teleconference with W. Disse re OCP.                      0.20           595.00       $119.00
09/11/09   JIS       Telephone call from Tim Sullivan regarding Sullivan                 0.30           825.00       $247.50
                     Group employment issues/compensation.
09/11/09   WD        Research re employment of Baird.                                    0.40           495.00       $198.00
09/11/09   WD        Preparation of notice re addition of ordinary course                0.60           495.00       $297.00
                     professionals.
09/11/09   SSC       Coordinate revision needed to Baird disinterestedness               0.10           595.00        $59.50
                     declaration.
09/21/09   WD        Research re Baird OCP declaration.                                  0.10           495.00        $49.50
09/28/09   WD        Emails with professionals re hearing on first interim fee           0.30           495.00       $148.50
                     applications.

              Task Code Total                                                                2.40                   $1,317.00


                            Total professional services:                                313.50                   $133,162.50

       Costs Advanced:

 08/10/2009       CC            Conference Call [E105] AT&T Conference Call, SSC                                      $25.40
 08/10/2009       CC            Conference Call [E105] AT&T Conference Call, SSC                                      $23.16
 08/10/2009       CC            Conference Call [E105] AT&T Conference Call, SSC                                       $8.30
 08/11/2009       CC            Conference Call [E105] AT&T Conference Call, SSC                                      $10.59
 08/13/2009       CC            Conference Call [E105] AT&T Conference Call, SSC                                      $18.51
 08/14/2009       CC            Conference Call [E105] AT&T Conference Call, SSC                                       $7.62
 08/14/2009       OR            Outside Reproduction Expense [E102] Legal Vision                                     $281.75
                                Consulting Group, Inv. 1108
 08/21/2009       AF            Air Fare [E110] - Southwest Airlines (JIS)                                           $337.20
 08/21/2009       HT            Hotel Expense [E110] - Bellagio Hotel & Casino (Las Vegas,                           $211.68
                                NV) JIS
 08/27/2009       CC            Conference Call [E105] AT&T Conference Call, SSC                                      $12.25
 08/27/2009       TE            Travel Expense [E110] - Travel agency service fee JIS                                 $60.00
 08/29/2009       BM            Business Meal [E111] - Johnnie's Pizzeria SSC                                         $21.10
 09/01/2009       LN            73203.00002 Lexis Charges for 09-01-09                                               $251.09
 09/01/2009       PAC           73203.00002 PACER Charges for 09-01-09                                                 $4.00
 09/01/2009       PO            73203.00002 :Postage Charges for 09-01-09                                             $60.30
 09/01/2009       PO            73203.00002 :Postage Charges for 09-01-09                                             $14.82
 09/01/2009       RE            (DOC 152 @0.10 PER PG)                                                                $15.20
 09/01/2009       RE            (DOC 114 @0.10 PER PG)                                                                $11.40
 09/01/2009       RE            (DOC 249 @0.10 PER PG)                                                                $24.90
 09/01/2009       RE            (DOC 498 @0.10 PER PG)                                                                $49.80
 09/01/2009       RE2           SCAN/COPY ( 25 @0.10 PER PG)                                                           $2.50
 09/01/2009       RE2           SCAN/COPY ( 15 @0.10 PER PG)                                                           $1.50
 09/01/2009       RE2           SCAN/COPY ( 29 @0.10 PER PG)                                                           $2.90
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09/01/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/02/2009     PAC     73203.00002 PACER Charges for 09-02-09                                    $7.20
09/02/2009     RE2     SCAN/COPY ( 144 @0.10 PER PG)                                            $14.40
09/02/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/02/2009     RE2     SCAN/COPY ( 12 @0.10 PER PG)                                              $1.20
09/02/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/02/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/02/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/02/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/02/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/02/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
09/03/2009     LN      73203.00002 Lexis Charges for 09-03-09                                  $605.21
09/03/2009     PAC     73203.00002 PACER Charges for 09-03-09                                    $7.84
09/03/2009     PO      73203.00002 :Postage Charges for 09-03-09                                $26.41
09/03/2009     PO      73203.00002 :Postage Charges for 09-03-09                                 $6.65
09/03/2009     RE      (DOC 760 @0.10 PER PG)                                                   $76.00
09/03/2009     RE      (DOC 238 @0.10 PER PG)                                                   $23.80
09/03/2009     RE2     SCAN/COPY ( 107 @0.10 PER PG)                                            $10.70
09/03/2009     RE2     SCAN/COPY ( 25 @0.10 PER PG)                                              $2.50
09/03/2009     RE2     SCAN/COPY ( 22 @0.10 PER PG)                                              $2.20
09/03/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/03/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/03/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/03/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/03/2009     RE2     SCAN/COPY ( 107 @0.10 PER PG)                                            $10.70
09/03/2009     RE2     SCAN/COPY ( 24 @0.10 PER PG)                                              $2.40
09/03/2009     RE2     SCAN/COPY ( 22 @0.10 PER PG)                                              $2.20
09/03/2009     RE2     SCAN/COPY ( 29 @0.10 PER PG)                                              $2.90
09/03/2009     RE2     SCAN/COPY ( 5 @0.10 PER PG)                                               $0.50
09/03/2009     RE2     SCAN/COPY ( 24 @0.10 PER PG)                                              $2.40
09/03/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/03/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/03/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/03/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/03/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/04/2009     PAC     73203.00002 PACER Charges for 09-04-09                                   $11.20
09/04/2009     RE      (DOC 1526 @0.10 PER PG)                                                 $152.60
09/04/2009     RE      (DOC 1766 @0.10 PER PG)                                                 $176.60
09/04/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/04/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/04/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
09/04/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                               $0.30
09/04/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
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09/04/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/04/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                             $0.40
09/04/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                             $0.20
09/04/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/04/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/04/2009     RE2     SCAN/COPY ( 21 @0.10 PER PG)                                            $2.10
09/04/2009     RE2     SCAN/COPY ( 38 @0.10 PER PG)                                            $3.80
09/04/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                             $0.40
09/04/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                             $0.40
09/04/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                             $0.40
09/04/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/08/2009     PAC     73203.00002 PACER Charges for 09-08-09                                  $6.48
09/08/2009     RE2     SCAN/COPY ( 21 @0.10 PER PG)                                            $2.10
09/08/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                             $0.30
09/08/2009     RE2     SCAN/COPY ( 38 @0.10 PER PG)                                            $3.80
09/08/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                             $0.30
09/08/2009     RE2     SCAN/COPY ( 20 @0.10 PER PG)                                            $2.00
09/08/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                             $0.30
09/08/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/09/2009     PAC     73203.00002 PACER Charges for 09-09-09                                 $10.96
09/09/2009     RE2     SCAN/COPY ( 24 @0.10 PER PG)                                            $2.40
09/09/2009     RE2     SCAN/COPY ( 9 @0.10 PER PG)                                             $0.90
09/09/2009     RE2     SCAN/COPY ( 6 @0.10 PER PG)                                             $0.60
09/09/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                             $0.30
09/09/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                             $0.20
09/09/2009     RE2     SCAN/COPY ( 6 @0.10 PER PG)                                             $0.60
09/09/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/09/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                             $0.20
09/09/2009     RE2     SCAN/COPY ( 12 @0.10 PER PG)                                            $1.20
09/09/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                             $0.20
09/09/2009     RE2     SCAN/COPY ( 82 @0.10 PER PG)                                            $8.20
09/09/2009     RE2     SCAN/COPY ( 7 @0.10 PER PG)                                             $0.70
09/09/2009     RE2     SCAN/COPY ( 13 @0.10 PER PG)                                            $1.30
09/09/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/09/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/09/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/09/2009     RE2     SCAN/COPY ( 34 @0.10 PER PG)                                            $3.40
09/09/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                             $0.30
09/09/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/09/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                             $0.20
09/09/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                             $0.30
09/09/2009     RE2     SCAN/COPY ( 34 @0.10 PER PG)                                            $3.40
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $9.01
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09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $9.01
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                 $13.11
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                 $10.19
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $9.01
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $9.01
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                 $14.35
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $7.66
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $7.66
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $7.66
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $7.66
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $7.66
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $7.66
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $7.66
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                 $14.35
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $7.66
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $9.28
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $7.66
09/10/2009     FE      73203.00002 FedEx Charges for 09-10-09                                  $7.66
09/10/2009     PAC     73203.00002 PACER Charges for 09-10-09                                  $7.92
09/10/2009     RE      (AGR 12 @0.10 PER PG)                                                   $1.20
09/10/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/10/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/10/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                             $0.20
09/10/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                             $0.20
09/10/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/10/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/10/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/10/2009     RE2     SCAN/COPY ( 9 @0.10 PER PG)                                             $0.90
09/10/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/10/2009     RE2     SCAN/COPY ( 7 @0.10 PER PG)                                             $0.70
09/10/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/10/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                             $0.40
09/10/2009     RE2     SCAN/COPY ( 40 @0.10 PER PG)                                            $4.00
09/11/2009     FE      73203.00002 FedEx Charges for 09-11-09                                  $9.01
09/11/2009     FE      73203.00002 FedEx Charges for 09-11-09                                 $46.53
09/11/2009     PAC     73203.00002 PACER Charges for 09-11-09                                  $2.56
09/11/2009     RE      (AGR 4 @0.10 PER PG)                                                    $0.40
09/11/2009     RE      (DOC 168 @0.10 PER PG)                                                 $16.80
09/11/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                             $0.10
09/11/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                             $0.20
09/11/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                             $0.20
09/11/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                             $0.20
09/11/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                             $0.40
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09/11/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/11/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/11/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/14/2009     IF      Incoming Faxes [E104]                                                     $0.60
09/14/2009     RE2     SCAN/COPY ( 22 @0.10 PER PG)                                              $2.20
09/14/2009     RE2     SCAN/COPY ( 110 @0.10 PER PG)                                            $11.00
09/14/2009     RE2     SCAN/COPY ( 71 @0.10 PER PG)                                              $7.10
09/14/2009     RE2     SCAN/COPY ( 71 @0.10 PER PG)                                              $7.10
09/14/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/14/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/15/2009     PAC     73203.00002 PACER Charges for 09-15-09                                   $19.52
09/15/2009     RE2     SCAN/COPY ( 38 @0.10 PER PG)                                              $3.80
09/15/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/15/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/15/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/15/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/16/2009     LN      73203.00002 Lexis Charges for 09-16-09                                 $1,095.54
09/16/2009     PAC     73203.00002 PACER Charges for 09-16-09                                    $2.64
09/16/2009     RE      (AGR 8 @0.10 PER PG)                                                      $0.80
09/16/2009     RE2     SCAN/COPY ( 104 @0.10 PER PG)                                            $10.40
09/16/2009     RE2     SCAN/COPY ( 76 @0.10 PER PG)                                              $7.60
09/16/2009     RE2     SCAN/COPY ( 140 @0.10 PER PG)                                            $14.00
09/16/2009     RE2     SCAN/COPY ( 183 @0.10 PER PG)                                            $18.30
09/16/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/16/2009     RE2     SCAN/COPY ( 72 @0.10 PER PG)                                              $7.20
09/16/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/16/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/16/2009     RE2     SCAN/COPY ( 69 @0.10 PER PG)                                              $6.90
09/16/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/16/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/16/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
09/16/2009     RE2     SCAN/COPY ( 14 @0.10 PER PG)                                              $1.40
09/16/2009     WL      73203.00002 Westlaw Charges for 09-16-09                                $512.80
09/17/2009     PAC     73203.00002 PACER Charges for 09-17-09                                    $4.00
09/17/2009     RE2     SCAN/COPY ( 121 @0.10 PER PG)                                            $12.10
09/17/2009     RE2     SCAN/COPY ( 64 @0.10 PER PG)                                              $6.40
09/17/2009     RE2     SCAN/COPY ( 190 @0.10 PER PG)                                            $19.00
09/17/2009     RE2     SCAN/COPY ( 24 @0.10 PER PG)                                              $2.40
09/17/2009     RE2     SCAN/COPY ( 113 @0.10 PER PG)                                            $11.30
09/17/2009     RE2     SCAN/COPY ( 24 @0.10 PER PG)                                              $2.40
09/17/2009     RE2     SCAN/COPY ( 72 @0.10 PER PG)                                              $7.20
09/17/2009     RE2     SCAN/COPY ( 111 @0.10 PER PG)                                            $11.10
09/17/2009     RE2     SCAN/COPY ( 25 @0.10 PER PG)                                              $2.50
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09/17/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
09/17/2009     RE2     SCAN/COPY ( 31 @0.10 PER PG)                                              $3.10
09/17/2009     RE2     SCAN/COPY ( 121 @0.10 PER PG)                                            $12.10
09/17/2009     RE2     SCAN/COPY ( 111 @0.10 PER PG)                                            $11.10
09/17/2009     RE2     SCAN/COPY ( 72 @0.10 PER PG)                                              $7.20
09/18/2009     FE      Federal Express [E108] - Invoice #: 9-343-53840                           $5.28
09/18/2009     PAC     73203.00002 PACER Charges for 09-18-09                                   $17.44
09/18/2009     RE      (AGR 1 @0.10 PER PG)                                                      $0.10
09/18/2009     RE2     SCAN/COPY ( 111 @0.10 PER PG)                                            $11.10
09/18/2009     RE2     SCAN/COPY ( 72 @0.10 PER PG)                                              $7.20
09/18/2009     RE2     SCAN/COPY ( 24 @0.10 PER PG)                                              $2.40
09/18/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
09/18/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/18/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
09/18/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
09/18/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/18/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/18/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/18/2009     RE2     SCAN/COPY ( 111 @0.10 PER PG)                                            $11.10
09/18/2009     RE2     SCAN/COPY ( 73 @0.10 PER PG)                                              $7.30
09/18/2009     RE2     SCAN/COPY ( 23 @0.10 PER PG)                                              $2.30
09/18/2009     RE2     SCAN/COPY ( 23 @0.10 PER PG)                                              $2.30
09/18/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                               $0.30
09/18/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
09/18/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
09/18/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/18/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/18/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/18/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
09/18/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                               $0.10
09/18/2009     RE2     SCAN/COPY ( 5 @0.10 PER PG)                                               $0.50
09/18/2009     RE2     SCAN/COPY ( 5 @0.10 PER PG)                                               $0.50
09/18/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                               $0.30
09/18/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
09/18/2009     RE2     SCAN/COPY ( 6 @0.10 PER PG)                                               $0.60
09/21/2009     PAC     73203.00002 PACER Charges for 09-21-09                                   $22.96
09/21/2009     RE2     SCAN/COPY ( 33 @0.10 PER PG)                                              $3.30
09/21/2009     RE2     SCAN/COPY ( 74 @0.10 PER PG)                                              $7.40
09/21/2009     RE2     SCAN/COPY ( 14 @0.10 PER PG)                                              $1.40
09/21/2009     RE2     SCAN/COPY ( 14 @0.10 PER PG)                                              $1.40
09/21/2009     RE2     SCAN/COPY ( 6 @0.10 PER PG)                                               $0.60
09/21/2009     RE2     SCAN/COPY ( 15 @0.10 PER PG)                                              $1.50
09/21/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
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09/21/2009     RE2     SCAN/COPY ( 17 @0.10 PER PG)                                             $1.70
09/21/2009     RE2     SCAN/COPY ( 27 @0.10 PER PG)                                             $2.70
09/21/2009     RE2     SCAN/COPY ( 16 @0.10 PER PG)                                             $1.60
09/21/2009     RE2     SCAN/COPY ( 16 @0.10 PER PG)                                             $1.60
09/21/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                              $0.20
09/21/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                              $0.20
09/22/2009     FE      73203.00002 FedEx Charges for 09-22-09                                   $9.01
09/22/2009     FE      73203.00002 FedEx Charges for 09-22-09                                   $7.66
09/22/2009     FE      73203.00002 FedEx Charges for 09-22-09                                   $7.66
09/22/2009     FE      73203.00002 FedEx Charges for 09-22-09                                  $17.01
09/22/2009     PAC     73203.00002 PACER Charges for 09-22-09                                   $6.88
09/22/2009     PO      73203.00002 :Postage Charges for 09-22-09                               $12.81
09/22/2009     PO      73203.00002 :Postage Charges for 09-22-09                                $1.76
09/22/2009     RE      (CORRA 24 @0.10 PER PG)                                                  $2.40
09/22/2009     RE      (DOC 336 @0.10 PER PG)                                                  $33.60
09/22/2009     RE      (DOC 21 @0.10 PER PG)                                                    $2.10
09/22/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                              $0.20
09/22/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                              $0.20
09/22/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                              $0.20
09/22/2009     RE2     SCAN/COPY ( 14 @0.10 PER PG)                                             $1.40
09/22/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                              $0.20
09/22/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                              $0.20
09/23/2009     RE      (DOC 6 @0.10 PER PG)                                                     $0.60
09/23/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                              $0.10
09/23/2009     RE2     SCAN/COPY ( 6 @0.10 PER PG)                                              $0.60
09/23/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                              $0.10
09/23/2009     RE2     SCAN/COPY ( 183 @0.10 PER PG)                                           $18.30
09/23/2009     RE2     SCAN/COPY ( 75 @0.10 PER PG)                                             $7.50
09/23/2009     RE2     SCAN/COPY ( 73 @0.10 PER PG)                                             $7.30
09/23/2009     RE2     SCAN/COPY ( 28 @0.10 PER PG)                                             $2.80
09/23/2009     RE2     SCAN/COPY ( 27 @0.10 PER PG)                                             $2.70
09/23/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                              $0.30
09/23/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                              $0.10
09/23/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                              $0.40
09/23/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                              $0.30
09/23/2009     RE2     SCAN/COPY ( 6 @0.10 PER PG)                                              $0.60
09/23/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                              $0.30
09/23/2009     RE2     SCAN/COPY ( 34 @0.10 PER PG)                                             $3.40
09/23/2009     RE2     SCAN/COPY ( 1 @0.10 PER PG)                                              $0.10
09/23/2009     RE2     SCAN/COPY ( 30 @0.10 PER PG)                                             $3.00
09/23/2009     RE2     SCAN/COPY ( 5 @0.10 PER PG)                                              $0.50
09/23/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                              $0.30
09/23/2009     RE2     SCAN/COPY ( 10 @0.10 PER PG)                                             $1.00
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09/23/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/23/2009     WL      73203.00002 Westlaw Charges for 09-23-09                                 $48.20
09/24/2009     PO      73203.00002 :Postage Charges for 09-24-09                                 $2.24
09/24/2009     PO      73203.00002 :Postage Charges for 09-24-09                                 $4.95
09/24/2009     RE      (DOC 12 @0.10 PER PG)                                                     $1.20
09/24/2009     RE      (DOC 63 @0.10 PER PG)                                                     $6.30
09/24/2009     RE      (DOC 924 @0.10 PER PG)                                                   $92.40
09/24/2009     RE      (DOC 54 @0.10 PER PG)                                                     $5.40
09/24/2009     RE2     SCAN/COPY ( 34 @0.10 PER PG)                                              $3.40
09/24/2009     RE2     SCAN/COPY ( 12 @0.10 PER PG)                                              $1.20
09/24/2009     RE2     SCAN/COPY ( 32 @0.10 PER PG)                                              $3.20
09/24/2009     RE2     SCAN/COPY ( 129 @0.10 PER PG)                                            $12.90
09/24/2009     RE2     SCAN/COPY ( 49 @0.10 PER PG)                                              $4.90
09/24/2009     RE2     SCAN/COPY ( 16 @0.10 PER PG)                                              $1.60
09/24/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                               $0.30
09/24/2009     RE2     SCAN/COPY ( 34 @0.10 PER PG)                                              $3.40
09/24/2009     RE2     SCAN/COPY ( 44 @0.10 PER PG)                                              $4.40
09/24/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
09/24/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/24/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/25/2009     RE      (AGR 6021 @0.10 PER PG)                                                 $602.10
09/25/2009     RE      (DOC 4 @0.10 PER PG)                                                      $0.40
09/25/2009     RE      (DOC 2004 @0.10 PER PG)                                                 $200.40
09/25/2009     RE      (DOC 6012 @0.10 PER PG)                                                 $601.20
09/25/2009     RE      (DOC 1998 @0.10 PER PG)                                                 $199.80
09/25/2009     RE2     SCAN/COPY ( 77 @0.10 PER PG)                                              $7.70
09/25/2009     RE2     SCAN/COPY ( 72 @0.10 PER PG)                                              $7.20
09/25/2009     RE2     SCAN/COPY ( 122 @0.10 PER PG)                                            $12.20
09/25/2009     RE2     SCAN/COPY ( 105 @0.10 PER PG)                                            $10.50
09/25/2009     RE2     SCAN/COPY ( 42 @0.10 PER PG)                                              $4.20
09/25/2009     RE2     SCAN/COPY ( 54 @0.10 PER PG)                                              $5.40
09/25/2009     RE2     SCAN/COPY ( 38 @0.10 PER PG)                                              $3.80
09/25/2009     RE2     SCAN/COPY ( 36 @0.10 PER PG)                                              $3.60
09/25/2009     RE2     SCAN/COPY ( 105 @0.10 PER PG)                                            $10.50
09/25/2009     RE2     SCAN/COPY ( 73 @0.10 PER PG)                                              $7.30
09/25/2009     RE2     SCAN/COPY ( 2 @0.10 PER PG)                                               $0.20
09/25/2009     RE2     SCAN/COPY ( 81 @0.10 PER PG)                                              $8.10
09/25/2009     RE2     SCAN/COPY ( 4 @0.10 PER PG)                                               $0.40
09/25/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                               $0.30
09/25/2009     RE2     SCAN/COPY ( 3 @0.10 PER PG)                                               $0.30
09/25/2009     RE2     SCAN/COPY ( 64 @0.10 PER PG)                                              $6.40
09/28/2009     PAC     73203.00002 PACER Charges for 09-28-09                                   $28.96
09/28/2009     PO      73203.00002 :Postage Charges for 09-28-09                               $250.95
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09/28/2009        PO            73203.00002 :Postage Charges for 09-28-09                                             $15.60
09/28/2009        RE            (DOC 2140 @0.10 PER PG)                                                              $214.00
09/28/2009        RE            (DOC 662 @0.10 PER PG)                                                                $66.20
09/28/2009        RE            (DOC 5015 @0.10 PER PG)                                                              $501.50
09/28/2009        RE            (DOC 1668 @0.10 PER PG)                                                              $166.80
09/28/2009        RE            (DOC 1050 @0.10 PER PG)                                                              $105.00
09/29/2009        PAC           73203.00002 PACER Charges for 09-29-09                                                $49.92
09/29/2009        RE            (DOC 924 @0.10 PER PG)                                                                $92.40
09/29/2009        RE            (DOC 484 @0.10 PER PG)                                                                $48.40
09/29/2009        RE            (DOC 1861 @0.10 PER PG)                                                              $186.10
09/29/2009        TE            Travel Expense [E110] JIS Travel Expense (LA-pc)                                     $100.00
09/30/2009        PAC           73203.00002 PACER Charges for 09-30-09                                                $19.12
09/30/2009        PO            73203.00002 :Postage Charges for 09-30-09                                              $6.10
09/30/2009        PO            73203.00002 :Postage Charges for 09-30-09                                             $16.38
09/30/2009        RE            (DOC 907 @0.10 PER PG)                                                                $90.70
09/30/2009        RE            (DOC 279 @0.10 PER PG)                                                                $27.90
09/30/2009        RE            (DOC 42 @0.10 PER PG)                                                                  $4.20
09/30/2009        RE            (DOC 511 @0.10 PER PG)                                                                $51.10

                                        Total Expenses:                                                        $8,978.05


                       Summary:
                       Total professional services                                       $133,162.50
                       Total expenses                                                      $8,978.05
                       Net current charges                                              $142,140.55

                       Net balance forward                                               $355,179.31

                       Total balance now due                                            $497,319.86


JIS          Stang, James I.                                 9.50              825.00                    $7,837.50
MAM          Matteo, Mike A.                                20.90              195.00                    $4,075.50
PJJ          Jeffries, Patricia J.                         115.50              225.00                  $25,987.50
SSC          Cho, Shirley S.                               123.00              595.00                  $73,185.00
WD           Disse, Werner                                  44.60              495.00                  $22,077.00
                                                           313.50                                      $133,162.50
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                                              Task Code Summary

                                                                          Hours           Amount
      AA          Asset Analysis/Recovery[B120]                           0.20              $119.00
      AD          Asset Disposition [B130]                               11.50            $5,972.50
      BL          Bankruptcy Litigation [L430]                            0.50              $297.50
      CA          Case Administration [B110]                              4.30            $1,878.50
      CO          Claims Admin/Objections[B310]                         135.60           $43,260.00
      CPO         Comp. of Prof./Others                                   9.20            $4,664.00
      EB          Employee Benefit/Pension-B220                           0.90              $535.50
      EC          Executory Contracts [B185]                             18.90            $7,885.50
      FE          Fee/Employment Application                              5.30            $2,576.50
      FN          Financing [B230]                                        5.40            $3,259.00
      HE          Hearing                                                14.80            $6,782.00
      OP          Operations [B210]                                       2.40            $1,408.00
      PD          Plan & Disclosure Stmt. [B320]                        102.10           $53,207.50
      RPO         Ret. of Prof./Other                                     2.40            $1,317.00

                                                                       313.50             $133,162.50



                                              Expense Code Summary
Air Fare [E110]                                                                      $337.20
Working Meals [E1                                                                     $21.10
Conference Call [E105]                                                               $105.83
Federal Express [E108]                                                               $276.08
Hotel Expense [E110]                                                                 $211.68
Incoming Faxes [E104]                                                                  $0.60
Lexis/Nexis- Legal Research [E                                                     $1,951.84
Outside Reproduction Expense                                                         $281.75
Pacer - Court Research                                                               $229.60
Postage [E108]                                                                       $418.97
Reproduction Expense [E101]                                                        $3,851.80
Reproduction/ Scan Copy                                                              $570.60
Travel Expense [E110]                                                                $160.00
Westlaw - Legal Research [E106                                                       $561.00

                                                                                   $8,978.05
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                               PACHULSKI STANG ZIEHL & JONES LLP

                                                   10100 Santa Monica Boulevard
                                                            11th Floor
                                                      Los Angeles, CA 90067

                                                      September 30, 2009
                               Invoice Number 85845                       73203 00005              JIS


            Rhodes Homes
            4730 South Fort Apache Road, Suite 300
            Las Vegas, Nevada 89147

           Balance forward as of last invoice, dated: August 31, 2009                                             $24,144.70
           Payments received since last invoice, last payment received -- October 6, 2009                          $6,774.69
           Net balance forward                                                                                    $17,370.01

            Re: Bravo Inc.


            Statement of Professional Services Rendered Through                       09/30/2009

                                                                                        Hours            Rate       Amount
              Claims Admin/Objections[B310]


09/29/09    LAF       Research re: Bravo IRS claim.                                         1.00         250.00         $250.00

              Task Code Total                                                               1.00                         $250.00


              Stay Litigation [B140]


09/15/09    SSC       Email to counsel for Lloyd’s re Bravo question.                       0.10         595.00          $59.50
09/17/09    SSC       Teleconference with T. Robinson re Lloyd’s issue.                     0.20         595.00         $119.00
09/17/09    SSC       Teleconference with M. White, Lloyd’s counsel, re Bravo.              0.10         595.00          $59.50
09/21/09    WD        Research re Harsch claim.                                             0.20         495.00          $99.00
09/24/09    WD        Email Brown re Harsch mediation.                                      0.10         495.00          $49.50
09/25/09    WD        Preparation of continuance stipulation re Harsch stay                 0.60         495.00         $297.00
                      motion and order.
09/25/09    WD        Emails with Brown re Harsch stay motion.                              0.30         495.00         $148.50
09/25/09    WD        Emails with Brown re Harsch proof of claim and objection.             0.20         495.00          $99.00
09/27/09    WD        Emails to Brown re Harsch stay stipulation.                           0.10         495.00          $49.50
09/28/09    WD        Preparation of continuance stipulation re Harsch stay                 0.20         495.00          $99.00
                      motion and order.
09/28/09    WD        Emails with Brown re Harsch stay motion.                              0.10         495.00          $49.50
09/30/09    WD        Preparation of continuance stipulation re Harsch stay                 0.20         495.00          $99.00
                      motion and order.
09/30/09    WD        Emails with Brown re Harsch stay motion.                              0.10         495.00          $49.50
09/30/09    SSC       Communicate with W. Disse re Harsch continuance.                      0.10         595.00          $59.50
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           Task Code Total                                                    2.60                     $1,337.00


                           Total professional services:                       3.60                    $1,587.00


                   Summary:
                   Total professional services                                  $1,587.00
                   Net current charges                                         $1,587.00

                   Net balance forward                                         $17,370.01

                   Total balance now due                                      $18,957.01


LAF        Forrester, Leslie A.                        1.00          250.00                      $250.00
SSC        Cho, Shirley S.                             0.50          595.00                      $297.50
WD         Disse, Werner                               2.10          495.00                    $1,039.50
                                                          3.60                                 $1,587.00



                                                 Task Code Summary

                                                                               Hours           Amount
      CO          Claims Admin/Objections[B310]                                1.00             $250.00
      SL          Stay Litigation [B140]                                       2.60            $1,337.00

                                                                               3.60              $1,587.00
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                                PACHULSKI STANG ZIEHL & JONES LLP

                                                     10100 Santa Monica Boulevard
                                                              11th Floor
                                                        Los Angeles, CA 90067

                                                       September 30, 2009
                                Invoice Number 85846                      73203 00012              JIS


            Rhodes Homes
            4730 South Fort Apache Road, Suite 300
            Las Vegas, Nevada 89147

           Balance forward as of last invoice, dated: August 31, 2009                                                    $951.22
           Payments received since last invoice, last payment received -- October 6, 2009                                $420.75
           Net balance forward                                                                                           $530.47

            Re: Gung-Ho Concrete LLC


            Statement of Professional Services Rendered Through                       09/30/2009

                                                                                        Hours            Rate            Amount
              Stay Litigation [B140]


09/21/09    WD        Preparation of order re Smith stay motion.                            0.70             495.00         $346.50
09/23/09    WD        Preparation of order re Smith stay motion.                            0.40             495.00         $198.00
09/23/09    WD        Teleconference with Crown re Smith stay order.                        0.10             495.00             $49.50
09/28/09    WD        Preparation of order re Smith stay motion.                            0.30             495.00         $148.50
09/28/09    WD        Teleconference with Crown re Smith stay order.                        0.20             495.00             $99.00
09/30/09    WD        Teleconference with Crowe re Smith stay order (2 calls).              0.20             495.00             $99.00

              Task Code Total                                                               1.90                                $940.50


                               Total professional services:                                 1.90                            $940.50


                       Summary:
                       Total professional services                                                 $940.50
                       Net current charges                                                     $940.50

                       Net balance forward                                                         $530.47

                       Total balance now due                                                 $1,470.97


  WD           Disse, Werner                                    1.90              495.00                              $940.50
                                                                   1.90                                               $940.50
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                                            Task Code Summary

                                                                          Hours          Amount
     SL       Stay Litigation [B140]                                      1.90            $940.50

                                                                         1.90               $940.50
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                                 PACHULSKI STANG ZIEHL & JONES LLP

                                                     10100 Santa Monica Boulevard
                                                              11th Floor
                                                        Los Angeles, CA 90067

                                                       September 30, 2009
                                 Invoice Number 85847                    73203 00018           JIS


            Rhodes Homes
            4730 South Fort Apache Road, Suite 300
            Las Vegas, Nevada 89147

           Balance forward as of last invoice, dated: July 31, 2009                                               $1,821.82
           Net balance forward                                                                                    $1,821.82

            Re: Pinnacle Grading LLC


            Statement of Professional Services Rendered Through                     09/30/2009

                                                                                     Hours           Rate          Amount
              Claims Admin/Objections[B310]


09/09/09    PJJ       Draft claim withdrawal letters and notices for paid claims        2.00             225.00        $450.00
09/25/09    SSC       Review and revise non debtor claim objection in Pinnacle.         0.30             595.00        $178.50

              Task Code Total                                                           2.30                            $628.50


              Operations [B210]


09/18/09    SSC       Correspond with M. Hubbard re Caterpillar.                        0.10             595.00         $59.50
09/18/09    SSC       Correspond with N. Baig re Caterpillar.                           0.10             595.00         $59.50

              Task Code Total                                                           0.20                            $119.00


                             Total professional services:                               2.50                          $747.50


                       Summary:
                       Total professional services                                             $747.50
                       Net current charges                                                 $747.50

                       Net balance forward                                                $1,821.82

                       Total balance now due                                             $2,569.32
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PJJ        Jeffries, Patricia J.                    2.00          225.00                    $450.00
SSC        Cho, Shirley S.                          0.50          595.00                    $297.50
                                                    2.50                                     $747.50



                                              Task Code Summary

                                                                           Hours           Amount
      CO           Claims Admin/Objections[B310]                           2.30             $628.50
      OP           Operations [B210]                                       0.20             $119.00

                                                                           2.50               $747.50
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                               PACHULSKI STANG ZIEHL & JONES LLP

                                                   10100 Santa Monica Boulevard
                                                            11th Floor
                                                      Los Angeles, CA 90067

                                                      September 30, 2009
                               Invoice Number 85848                     73203 00021                JIS


            Rhodes Homes
            4730 South Fort Apache Road, Suite 300
            Las Vegas, Nevada 89147

           Balance forward as of last invoice, dated: August 31, 2009                                             $22,565.81
           Payments received since last invoice, last payment received -- October 6, 2009                         $12,575.41
           Net balance forward                                                                                     $9,990.40

            Re: Rhodes Design and Development Corporation


            Statement of Professional Services Rendered Through                       09/30/2009

                                                                                        Hours            Rate       Amount
              Bankruptcy Litigation [L430]


09/04/09    PJJ       Review Fulks stipulation                                              0.20         225.00          $45.00
09/11/09    PJJ       Review and revise Kitec stipulation (.2); Telephone call              0.40         225.00          $90.00
                      with S Cho re same (.2)

              Task Code Total                                                               0.60                         $135.00


              Claims Admin/Objections[B310]


09/01/09    PJJ       Research claims docket                                                0.30         225.00          $67.50
09/02/09    JIS       Review agreements and motions regarding settlements of                0.50         825.00         $412.50
                      prepetition claims to be paid by insurance (Lexington).

              Task Code Total                                                               0.80                         $480.00


              Operations [B210]


09/03/09    SSC       Mark up Nevada State Contractor’s Board settlement.                   0.60         595.00         $357.00
09/03/09    SSC       Review comments from P. Huygens re Nevada State                       0.10         595.00          $59.50
                      Contractor’s Board settlement.
09/08/09    SSC       Teleconference with B. Axelrod re contractor’s board                  0.40         595.00         $238.00
                      settlement (.1); review and revise same (.2); review
                      additional edits from B. Axelrod and forward to company
                      (.1).
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09/08/09   SSC     Review and revise contractor’s board settlement from         0.50        595.00       $297.50
                   company.
09/08/09   SSC     Email to P. Dublin re revisions to board settlement.         0.10        595.00        $59.50
09/10/09   SSC     Review comments to Nevada settlement from P. Dublin          0.50        595.00       $297.50
                   and correspond with P. Dublin re same (.2); review and
                   revise settlement agreement based on comments received
                   and email to company re same (.3).
09/22/09   SSC     Review draft letter from Sagebrush rescinding revocation.    0.10        595.00        $59.50
09/24/09   SSC     Teleconference with R. Shimmon re NCSB settlement (.2);      0.90        595.00       $535.50
                   Review and revise same (.5); correspond with T. Robinson
                   re same (.2).
09/24/09   SSC     Voicemails to T. Robinson re Nevada State Contractors'       0.20        595.00       $119.00
                   Board settlement.
09/25/09   SSC     Review Sagebrush revocation and forward.                     0.20        595.00       $119.00

           Task Code Total                                                       3.60                   $2,142.00


            Stay Litigation [B140]


09/01/09   WD      Emails with Hartig re Elkhorn Springs settlement.            0.20        495.00        $99.00
09/01/09   WD      Research re section 362(1) and section 262(3).               2.30        495.00      $1,138.50
09/01/09   WD      Research re motion to approve Kitec settlement agreement.    0.50        495.00        $247.50
09/01/09   WD      Preparation of motion to approve Kitec settlement            0.40        495.00       $198.00
                   agreement.
09/01/09   WD      Research re re motion to approve Fulks settlement            0.40        495.00       $198.00
                   agreement.
09/01/09   WD      Preparation of motion to approve Fulks settlement            0.70        495.00       $346.50
                   agreement.
09/01/09   WD      Research re Elkhorn Springs Rule 9019 motion.                1.30        495.00       $643.50
09/01/09   WD      Preparation of Rule 9019 compromise motion re Elkhorn        1.40        495.00       $693.00
                   Springs litigation and Huygens declaration.
09/01/09   SSC     Review Elkhorn settlement and analysis re same.              0.40        595.00       $238.00
09/01/09   SSC     Review and revise Elkhorn settlement motion.                 0.50        595.00       $297.50
09/02/09   WD      Research re Elkhorn Springs Rule 9019 motion.                0.60        495.00       $297.00
09/02/09   WD      Preparation of Rule 9019 compromise motion re Elkhorn        0.80        495.00       $396.00
                   Springs litigation and Huygens declaration.
09/02/09   WD      Research re motion to approve Kitec settlement agreement.    0.80        495.00       $396.00
09/02/09   WD      Preparation of motion to approve Kitec settlement            1.70        495.00       $841.50
                   agreement.
09/02/09   WD      Research re motion to approve Fulks settlement agreement.    0.60        495.00       $297.00
09/02/09   WD      Preparation of motion to approve Fulks settlement            1.50        495.00       $742.50
                   agreement.
09/02/09   WD      Teleconference with Coulthard re Kitec stipulation.          0.10        495.00        $49.50
09/02/09   WD      Emails with Dublin and Beckett re Elkhorn, Fulks and         0.20        495.00        $99.00
                   Kitec settlement motions.
09/02/09   WD      Emails with Clifford re Elkhorn Springs settlement motion.   0.20        495.00        $99.00
09/02/09   SSC     Review correspondence re Elkhorn lift stay.                  0.20        595.00       $119.00
09/02/09   SSC     Review and revise Elkhorn 9019 motion (.5); review and       1.30        595.00       $773.50
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                 revise Fulks 9019 motion (.4); review and revise Kitec
                 9019 motion (.4).
09/02/09   SSC   Correspondence with W. Disse re service of motions (.1);     0.20       595.00       $119.00
                 correspondence with the company re declarants .(1).
09/03/09   WD    Research re Elkhorn Springs Rule 9019 motion.                0.70       495.00       $346.50
09/03/09   WD    Preparation of Rule 9019 compromise motion re Elkhorn        0.80       495.00       $396.00
                 Springs litigation and Huygens declaration and order.
09/03/09   WD    Emails with Robinson and Huygens re compromise               0.40       495.00       $198.00
                 motions.
09/03/09   WD    Emails with Hartig re Elkhorn Springs settlement.            0.30       495.00       $148.50
09/03/09   WD    Telephone call with Hartig re Elkhorn Springs settlement.    0.20       495.00        $99.00
09/03/09   WD    Emails with Clifford re Elkhorn Springs settlement and       0.10       495.00        $49.50
                 motion.
09/03/09   WD    Telephone call with Clifford re Elkhorn Springs settlement   0.10       495.00        $49.50
                 and motion.
09/03/09   WD    Telephone call with Litt re Elkhorn Springs settlement and   0.20       495.00        $99.00
                 motion.
09/03/09   WD    Preparation of Kitec settlement agreement.                   0.30       495.00       $148.50
09/03/09   WD    Research re motion to approve Kitec settlement agreement.    1.10       495.00       $544.50
09/03/09   WD    Preparation of motion to approve Kitec settlement            3.20       495.00      $1,584.00
                 agreement, Huygens declaration and order.
09/03/09   WD    Research re motion to approve Fulks settlement agreement.    0.60       495.00       $297.00
09/03/09   WD    Preparation of motion to approve Fulks settlement            1.80       495.00       $891.00
                 agreement.
09/03/09   WD    Telephone calls (.2) and emails (.3) with Coulthard and      0.50       495.00       $247.50
                 Harris re Kitec stipulation and motion to approve
                 stipulation.
09/03/09   WD    Emails with Ransavage re Fulks stipulation.                  0.30       495.00       $148.50
09/03/09   WD    Preparation of notice of hearing re Elkhorn Springs          0.60       495.00       $297.00
                 motion.
09/03/09   WD    Preparation of notice of hearing re Fulks motion.            0.40       495.00       $198.00
09/03/09   WD    Preparation of notice of hearing re Kitec motion.            0.30       495.00       $148.50
09/03/09   SSC   Review revised Fulks agreement.                              0.20       595.00       $119.00
09/03/09   SSC   Teleconference with W. Disse re three lift stay motions.     0.30       595.00       $178.50
09/03/09   SSC   Correspondence with W. Disse re 9019 and lift stay           0.20       595.00       $119.00
                 motions.
09/04/09   WD    Preparation of Rule 9019 compromise motion re Elkhorn        0.70       495.00       $346.50
                 Springs litigation and Huygens declaration and order.
09/04/09   WD    Emails with Robinson and Huygens re compromise               0.20       495.00        $99.00
                 motions.
09/04/09   WD    Teleconference with Clifford re Elkhorn Springs              0.10       495.00        $49.50
                 settlement and motion.
09/04/09   WD    Emails with Robinson and Carlson re motion to approve        0.30       495.00       $148.50
                 Kitec settlement agreement.
09/04/09   WD    Preparation of motion to approve Kitec settlement            0.90       495.00       $445.50
                 agreement, Huygens declaration and order.
09/04/09   WD    Preparation of motion to approve Fulks settlement            0.80       495.00       $396.00
                 agreement.
09/04/09   WD    Emails with Harris re Kitec stipulation and motion to        0.20       495.00        $99.00
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                 approve stipulation.
09/04/09   WD    Emails with Ransavage re Fulks stipulation.                     0.10       495.00        $49.50
09/04/09   WD    Preparation of notice of hearing re Elkhorn Springs             0.20       495.00        $99.00
                 motion.
09/04/09   WD    Preparation of notice of hearing re Fulks motion.               0.20       495.00        $99.00
09/04/09   WD    Preparation of notice of hearing re Kitec motion.               0.20       495.00        $99.00
09/04/09   WD    Teleconference with Litt re Elkhorn Springs settlement and      0.10       495.00        $49.50
                 motion.
09/04/09   SSC   Rhodes review three lift stay motions and emails to client      1.00       595.00       $595.00
                 re questions (.8); teleconference with W. Disse re service
                 and filings (.2).
09/08/09   WD    Research re automatic stay.                                     0.20       495.00        $99.00
09/08/09   WD    Emails with Clifford re Elkhorn Springs settlement and          0.20       495.00        $99.00
                 motion.
09/08/09   SSC   Review three filed lift stay motions.                           0.30       595.00       $178.50
09/09/09   WD    Emails with Clifford re Elkhorn Springs settlement and          0.10       495.00        $49.50
                 motion.
09/11/09   WD    Analysis of revised Kitec stipulation.                          0.20       495.00        $99.00
09/11/09   WD    Emails with Harris re Kitec stipulation.                        0.20       495.00        $99.00
09/11/09   SSC   Review revised Kitec stipulation and email to W. Disse re       0.10       595.00        $59.50
                 same.
09/14/09   WD    Preparation of order re motion to approve Kitec stipulation.    0.30       495.00       $148.50
09/14/09   WD    Emails with Harris re Kitec stipulation and amendments.         0.30       495.00       $148.50
09/15/09   WD    Emails with Harris re Kitec stipulation and amendments.         0.30       495.00       $148.50
09/15/09   WD    Preparation of order re Smith stay motion.                      0.60       495.00       $297.00
09/15/09   WD    Teleconference with Crown re Smith stay motion.                 0.10       495.00        $49.50
09/21/09   WD    Preparation of order re Elkhorn Springs settlement motion.      0.70       495.00       $346.50
09/21/09   WD    Emails with Clifford re Elkhorn Springs re Elkhorn              0.10       495.00        $49.50
                 Springs settlement and motion.
09/21/09   WD    Research re Kitec order.                                        0.40       495.00       $198.00
09/21/09   WD    Preparation of order re motion to approve Kitec stipulation.    0.70       495.00       $346.50
09/21/09   WD    Preparation of order re motion to approve Fulks                 0.70       495.00       $346.50
                 stipulation.
09/22/09   WD    Preparation of order re Elkhorn Springs settlement motion.      0.40       495.00       $198.00
09/22/09   WD    Preparation of order re motion to approve Kitec stipulation.    0.30       495.00       $148.50
09/22/09   WD    Preparation of order re motion to approve Fulks                 0.30       495.00       $148.50
                 stipulation.
09/23/09   WD    Preparation of order re Elkhorn Springs settlement motion.      0.10       495.00        $49.50
09/23/09   WD    Emails with Cilfford re Elkhorn Springs re Elkhorn              0.10       495.00        $49.50
                 Springs settlement and motion.
09/23/09   WD    Preparation of order re motion to approve Kitec stipulation.    0.30       495.00       $148.50
09/23/09   WD    Emails with Harris, Robinson and Carlson re Kitec order.        0.30       495.00       $148.50
09/23/09   WD    Emails with Ransavage re Fulks order.                           0.20       495.00        $99.00
09/23/09   WD    Preparation of order re motion to approve Fulks                 0.10       495.00        $49.50
                 stipulation.
09/27/09   WD    Emails with Clifford re Elkhorn Springs settlement and          0.10       495.00        $49.50
                 motion.
09/28/09   WD    Preparation of order re Elkhorn Springs settlement motion.      0.40       495.00       $198.00
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09/28/09    WD          Preparation of order re motion to approve Kitec stipulation.            0.30           495.00            $148.50
09/28/09    WD          Emails with Harris re Kitec order.                                      0.20           495.00               $99.00
09/28/09    WD          Preparation of order re motion to approve Fulks                         0.30           495.00            $148.50
                        stipulation.
09/29/09    SSC         Review orders re lift stay motions and direct re revisions              0.30           595.00            $178.50
                        needed.
09/30/09    WD          Research re Kitec order.                                                0.20           495.00               $99.00

                Task Code Total                                                                 43.30                         $21,933.50


                                Total professional services:                                    48.30                       $24,690.50


                         Summary:
                         Total professional services                                              $24,690.50
                         Net current charges                                                    $24,690.50

                         Net balance forward                                                       $9,990.40

                         Total balance now due                                                  $34,680.90


  JIS           Stang, James I.                                   0.50                 825.00                            $412.50
  PJJ           Jeffries, Patricia J.                             0.90                 225.00                            $202.50
  SSC           Cho, Shirley S.                                   8.60                 595.00                           $5,117.00
  WD            Disse, Werner                                    38.30                 495.00                       $18,958.50
                                                                 48.30                                              $24,690.50



                                                       Task Code Summary

                                                                                                  Hours              Amount
           BL           Bankruptcy Litigation [L430]                                              0.60                 $135.00
           CO           Claims Admin/Objections[B310]                                             0.80                 $480.00
           OP           Operations [B210]                                                         3.60               $2,142.00
           SL           Stay Litigation [B140]                                                   43.30              $21,933.50

                                                                                                48.30                   $24,690.50
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                               PACHULSKI STANG ZIEHL & JONES LLP

                                                     10100 Santa Monica Boulevard
                                                              11th Floor
                                                        Los Angeles, CA 90067

                                                       September 30, 2009
                                 Invoice Number 85849                   73203 00023                JIS


            Rhodes Homes
            4730 South Fort Apache Road, Suite 300
            Las Vegas, Nevada 89147

           Balance forward as of last invoice, dated: August 31, 2009                                                $2,732.02
           Payments received since last invoice, last payment received -- October 6, 2009                              $125.14
           Net balance forward                                                                                       $2,606.88

            Re: Rhodes Ranch Golf Country Club LLC


            Statement of Professional Services Rendered Through                       09/30/2009

                                                                                        Hours            Rate          Amount
              Claims Admin/Objections[B310]


09/01/09    MAM       Update claim withdrawal tracking chart.                               0.20            195.00            $39.00
09/03/09    MAM       Update claim withdrawal tracking chart                                0.20            195.00            $39.00

              Task Code Total                                                               0.40                               $78.00


                             Total professional services:                                   0.40                              $78.00


                       Summary:
                       Total professional services                                                 $78.00
                       Net current charges                                                         $78.00

                       Net balance forward                                                    $2,606.88

                       Total balance now due                                                 $2,684.88


  MAM          Matteo, Mike A.                                  0.40              195.00                             $78.00
                                                                0.40                                                 $78.00
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                                         Task Code Summary

                                                                     Hours          Amount
     CO       Claims Admin/Objections[B310]                          0.40             $78.00

                                                                    0.40                   $78.00
